                                                                                                     Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 1 of 53 Page ID #:1



                                                                                                       1   Squire Patton Boggs (US) LLP
                                                                                                           Sean P. Conboy, No. 214487
                                                                                                       2     sean.conboy@squirepb.com
                                                                                                           Anthony P. Greco, No. 296398
                                                                                                       3     anthony.greco@squirepb.com
                                                                                                           555 South Flower Street, 31st Floor
                                                                                                       4   Los Angeles, CA 90071
                                                                                                           Telephone: +1 213.624.2500
                                                                                                       5   Facsimile: +1 213.623.4581
                                                                                                       6   Attorneys for Defendant
                                                                                                           Volkswagen Group of America, Inc.
                                                                                                       7
                                                                                                       8                                UNITED STATES DISTRICT COURT
                                                                                                       9                               CENTRAL DISTRICT OF CALIFORNIA
                                                                                                      10
                                                                                                      11   JESSICA RAMIREZ,                                Case No. 2:22­cv­2813
SQUIRE PATTON BOGGS (US) LLP
                               555 South Flower Street, 31st Floor




                                                                                                      12                          Plaintiff,               NOTICE OF REMOVAL TO THE
                                                                     Los Angeles, California 90071




                                                                                                                                                           UNITED STATES DISTRICT
                                                                                                      13            v.                                     COURT FOR THE CENTRAL
                                                                                                                                                           DISTRICT OF CALIFORNIA
                                                                                                      14   VOLKSWAGEN GROUP OF                             UNDER 28 USC §1441 AND 28
                                                                                                           AMERICA, INC., a New Jersey                     USC § 1332 (DIVERSITY OF
                                                                                                      15   Corporation; and DOES 1 through 10,             CITIZENSHIP JURISDICTION);
                                                                                                           inclusive                                       DECLARATION OF ANTHONY
                                                                                                      16                                                   P. GRECO
                                                                                                                                  Defendants.
                                                                                                      17
                                                                                                      18            TO THE CLERK OF THE UNITED STATES DISTRICT COURT
                                                                                                      19   FOR THE CENTRAL DISTRICT OF CALIFORNIA:
                                                                                                      20            PLEASE TAKE NOTICE that defendant Volkswagen Group of America,

                                                                                                      21   Inc. (VWGoA) hereby removes this case to the United States District Court for the

                                                                                                      22   Central District of California pursuant to 28 U.S.C. § 1441 and based upon

                                                                                                      23   diversity of citizenship under 28 U.S.C. section 1332. The basis for removal is as
                                                                                                           follows:
                                                                                                      24
                                                                                                      25                                        BACKGROUND FACTS
                                                                                                                    1.       On March 16, 2022, plaintiff Jessica Ramirez (Plaintiff) commenced
                                                                                                      26
                                                                                                           this action in the Riverside County Superior Court entitled as follows: Jessica
                                                                                                      27
                                                                                                           Ramirez vs. Volkswagen Group of America, Inc., Case No. CVPS2201041. The
                                                                                                      28

                                                                                                                                                                       NOTICE OF REMOVAL
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                                                                                                       1   Complaint alleges violations of the California Song-Beverly Consumer Warranty
                                                                                                       2   Act (First and Second Causes of Action) with respect to her leased 2019
                                                                                                       3   Volkswagen Atlas, VIN: 1V2LR2CA0KC535638. (Declaration of Anthony P.
                                                                                                       4   Greco (APG Decl.); Exhibit A, Plaintiff’s Complaint at ¶14.).
                                                                                                       5            2.       Defendant VWGoA was served with Plaintiff’s Summons and
                                                                                                       6   Complaint on March 28, 2022. (APG Decl. ¶2; Exh. A.)
                                                                                                       7            3.       Defendant VWGoA filed its Answer in state Court on April 25, 2022.
                                                                                                       8   (APG Decl., ¶3; Exh. B.) No further proceedings have been had in the state Court
                                                                                                       9   action.
                                                                                                      10            4.       This is a civil action over which this Court has original jurisdiction
                                                                                                      11   under 28 U.S.C. § 1332, and it is one which may be removed to this Court by
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                               555 South Flower Street, 31st Floor




                                                                                                      12   Defendant VWGoA pursuant to 28 U.S.C. § 1441(a) because it is an action between
                                                                     Los Angeles, California 90071




                                                                                                      13   citizens of two different states satisfies the necessary amount in controversy under
                                                                                                      14   that statute.
                                                                                                      15            5.       The Superior Court of the State of California for the County of
                                                                                                      16   Riverside is located in the Central District of California. Therefore, venue is proper
                                                                                                      17   pursuant to 28 U.S.C. § 84 because this is the “district and division within which
                                                                                                      18   such action is pending . . .” 28 U.S.C. § 1446(a).
                                                                                                      19            6.       No previous application has been made for the relief requested herein.
                                                                                                      20            7.       Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
                                                                                                      21   being served upon counsel for Plaintiff, and a copy is being filed with the clerk of
                                                                                                      22   the Superior Court of the State of California for the County of Riverside.
                                                                                                      23         REMOVAL IS PROPER BECAUSE THIS COURT HAS DIVERSITY
                                                                                                                       JURISDICTION PURSUANT TO 28 U.S.C. § 1332
                                                                                                      24
                                                                                                                    A.       There is Complete Diversity Between the Parties
                                                                                                      25
                                                                                                                    8.       For diversity purposes, a natural person is a “citizen” of the state
                                                                                                      26
                                                                                                           which he or she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088,
                                                                                                      27
                                                                                                           1090 (9th Cir. 1983). A natural person’s domicile is the place he or she resides
                                                                                                      28

                                                                                                                                                       -2-                 NOTICE OF REMOVAL
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                                                                                                       1   with the intention to remain or to which he or she intends to return. Kanter v.
                                                                                                       2   Warner-Lambert Co., 265 F.3d. 853, 857 (9th Cir. 2001).
                                                                                                       3            9.       Plaintiff, at the time this action was commenced, was and still is a
                                                                                                       4   citizen of the State of California, County of Riverside as established by his
                                                                                                       5   Complaint. (See APG Decl.; Exh. A, Complaint at ¶ 2.)
                                                                                                       6            10.      VWGoA is a New Jersey corporation with its principal place of
                                                                                                       7   business in Herndon, Virginia. (See APG Decl ¶ 5.) VWGoA is not, and was not
                                                                                                       8   at the time the State Court Action was commenced, a citizen of the State of
                                                                                                       9   California. (Id.)
                                                                                                      10            11.      Complete diversity therefore existed as of the time the action was
                                                                                                      11   commenced in state Court and exists at the time of removal. There are no other
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                                                                                                      12   named defendants that can defeat diversity. “Doe” defendants may be ignored for
                                                                     Los Angeles, California 90071




                                                                                                      13   removal purposes. See Salveson v. Western State Bank Card Assn., 731 F.2d 1423
                                                                                                      14   (9th Cir. 1984)
                                                                                                      15            B.       The Amount in Controversy is in Excess of $75,000.00
                                                                                                      16            12.      Plaintiff is alleging violations of the California Song-Beverly
                                                                                                      17   Consumer Warranty Act related to her leased 2019 Volkswagen Atlas, VIN:
                                                                                                      18   1V2LR2CA0KC535638. (APG Decl. ¶ 2, Exh. A, Complaint at ¶ 14.)
                                                                                                      19            13.      Plaintiff alleges that VWGoA’s authorized repair facilities failed to
                                                                                                      20   repair alleged nonconformities in the Vehicle. (Id. at ¶¶ 15-18.)
                                                                                                      21            14.      Plaintiff is seeking in excess of $75,000.00 in monetary damages. The
                                                                                                      22   amount in controversy requirement may be established by showing that such
                                                                                                      23   damages are “facially apparent” from the Plaintiff’s Complaint, or by setting forth
                                                                                                      24   facts in the notice of removal that support a finding of the requisite amount. See
                                                                                                      25   Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999).
                                                                                                      26            15.      As set forth in Plaintiff’s Complaint, Plaintiff seeks reimbursement for
                                                                                                      27   her actual damages, which in a Song-Beverly action is the amount paid or payable
                                                                                                      28   under the agreement. Cal. Civ. Code § 1793.2(d). Plaintiff is seeking restitution,

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                                                                                                       1   incidental and consequential damages, a civil penalty in the amount of two times
                                                                                                       2   Plaintiff’s actual damages, along with attorneys’ fees and costs of suit. (APG Decl.,
                                                                                                       3   Exh. A: Complaint, at Prayer for Relief Page 5 Line 21 through line 28.) The total
                                                                                                       4   consideration over the term of Lease Agreement is $30,158.37. A true and correct
                                                                                                       5   copy of the Lease Agreement is attached to the Declaration of Anthony P. Greco as
                                                                                                       6   Exhibit C.
                                                                                                       7            16.      Civil penalties under the Song-Beverly Act are properly included in
                                                                                                       8   the amount in controversy. Brady v. Mercedes Benz, 243 F. Supp. 2d 1004, 1009
                                                                                                       9   (N.D. Cal. 2002). See also Chabner v. United of Omaha Life Ins. Co., 225 F.3d
                                                                                                      10   1042, 1046, n.3 (9th Cir. 2000) (civil penalties under Cal. Civ. Code § 52, subd. (a)
                                                                                                      11   and punitive damages are included in the amount in controversy). “[W]hen a
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                                                                                                      12   defendant seeks federal-court adjudication, the defendant’s amount-in-controversy
                                                                     Los Angeles, California 90071




                                                                                                      13   allegation should be accepted when not contested by the plaintiff or questioned by
                                                                                                      14   the court.” Dart Cherokee Basin Operating Co. v. Owens, 135 S.Ct. 547, 553
                                                                                                      15   (2014). Here, excluding any attorney’s fees and the other, consequential, or
                                                                                                      16   incidental damages, using the “total payments” of $30,158.37, Plaintiff is seeking a
                                                                                                      17   civil penalty of $60,316.74 ($30,158.37 x 2). As such, Plaintiff is seeking damages
                                                                                                      18   of at least $90,475.11 ($30,158.37+$60,316.74).
                                                                                                      19            17.      Typically, attorneys’ fees are not considered part of the amount in
                                                                                                      20   controversy for diversity purposes. Galt G/S v. JSS Scandinavia, 142 F.3d 1150,
                                                                                                      21   1155–56 (9th Cir.1998). However, where an underlying statute, such as the Song–
                                                                                                      22   Beverly Act, authorizes an award of attorneys’ fees, such fees may be included in
                                                                                                      23   calculating the amount in controversy. See Id.; Morrison v. Allstate Indem. Co.,
                                                                                                      24   228 F.3d 1255, 1265 (11th Cir.2000). Further, the amount in controversy is an
                                                                                                      25   estimate of the amount in dispute, rather than an assessment of the defendant’s
                                                                                                      26   potential liability. Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 400 (9th Cir.
                                                                                                      27   2010). Once the party seeking federal jurisdiction provides plausible explanation
                                                                                                      28   for how the amount in controversy is met, the matter should remain in federal Court

                                                                                                                                                       -4-               NOTICE OF REMOVAL
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                                                                                                       1   unless plaintiff cannot possibly recover that amount. Spivey v. Vertrue, Inc., 528
                                                                                                       2   F.3d 982, 986 (7th Cir. 2008). Additionally, the Brady Court also agreed with the
                                                                                                       3   line of cases that held that a reasonable estimate of fees likely to be recovered may
                                                                                                       4   be used in calculating the amount in controversy. See Miera v. Dairyland Ins. Co.,
                                                                                                       5   143 F.3d 1337, 1340 (10th Cir.1998); Simmons v. PCR Technology, 209 F.Supp.2d
                                                                                                       6   1029, 1034-35 (N.D.Cal.2002); Gerig v. Krause Publications, Inc., 58 F.Supp.2d
                                                                                                       7   1261, 1265 (D.Kan.1999); Plus System, Inc. v. New England Network, Inc., 804
                                                                                                       8   F.Supp. 111, 116-17 (D.Colo.1992). A reasonable estimate of attorneys’ fees is
                                                                                                       9   also properly included. Id. at 1010-1011. Fee awards in Song-Beverly cases may
                                                                                                      10   be substantial, even in cases that are settled without trial. See, e.g., Goglin v.
                                                                                                      11   Volkswagen Group of America, Inc., 4 Cal.App.5th 462, 470 (2016) (185,214.19
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                               555 South Flower Street, 31st Floor




                                                                                                      12   fee); Gezalyan v. Volkswagen Group of America, Inc., 697 F.Supp.2d 1168, 1171
                                                                     Los Angeles, California 90071




                                                                                                      13   (C.D. Cal. 2010) ($50,404.34 fee). Here, the amount in controversy already exceeds
                                                                                                      14   the threshold $75,000.00, the inclusion of any attorneys’ fees at all puts the case
                                                                                                      15   well beyond the threshold amount.
                                                                                                      16            18.      No previous application has been made for the relief requested herein.
                                                                                                      17            19.      Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of removal is
                                                                                                      18   being served upon counsel for Plaintiff, and a copy is being filed with the clerk of
                                                                                                      19   the Superior Court of the State of California for the County of Riverside.
                                                                                                      20            20.      Based upon the foregoing, all requirements for diversity jurisdiction
                                                                                                      21   and removal jurisdiction have been met.
                                                                                                      22            21.      This removal notice is timely filed as it is filed within 30 days after
                                                                                                      23   VWGoA became aware that the case was removable. VWGoA was served with the
                                                                                                      24   Complaint on March 28, 2022.
                                                                                                      25            22.      Defendant VWGoA will promptly notify Plaintiff and the Superior
                                                                                                      26   Court of this removal as required by 28 U.S.C. § 1446(d).
                                                                                                      27
                                                                                                      28

                                                                                                                                                        -5-                NOTICE OF REMOVAL
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                                                                                                       1            23.      Defendant VWGoA therefore requests that this action now pending
                                                                                                       2   against it in the Superior Court of California, County of Riverside, be removed to
                                                                                                       3   this Court, and that this Court assume complete jurisdiction in this matter.
                                                                                                       4            24.      By filing this Notice of Removal, Defendant does not waive, either
                                                                                                       5   expressly or impliedly, any defense, affirmative defense or motion that may be
                                                                                                       6   available or concede that Plaintiff are entitled to any of the damages Plaintiff
                                                                                                       7   claims.
                                                                                                                                               *      *       *
                                                                                                       8
                                                                                                       9            WHEREFORE, Notice is given by Defendant that the local action is removed
                                                                                                      10   from the Superior Court of the State of California for the County of Riverside to the
                                                                                                      11   United States District Court for the Central District of California in accordance with
SQUIRE PATTON BOGGS (US) LLP
                               555 South Flower Street, 31st Floor




                                                                                                      12   this notice dated April 27, 2022.
                                                                     Los Angeles, California 90071




                                                                                                      13   Dated: April 27, 2022                            Squire Patton Boggs (US) LLP
                                                                                                      14
                                                                                                      15                                                     By:       /s/ Anthony P. Greco
                                                                                                                                                            Sean P. Conboy
                                                                                                      16                                                    Anthony P. Greco
                                                                                                                                                            Attorneys for Defendant
                                                                                                      17                                                    VOLKSWAGEN GROUP OF
                                                                                                                                                            AMERICA, INC.
                                                                                                      18
                                                                                                      19
                                                                                                      20
                                                                                                      21
                                                                                                      22
                                                                                                      23
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                                                                                                                                                      -6-                 NOTICE OF REMOVAL
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                                                                                                       1                              DECLARATION OF ANTHONY P. GRECO
                                                                                                       2            I, Anthony P. Greco, declare as follows:
                                                                                                       3            1.       I am an attorney admitted to practice before all Courts of the State of
                                                                                                       4   California and the Central District Court. I am associated with Squire Patton Boggs
                                                                                                       5   (US) LLP, attorneys of record for Volkswagen Group of America, Inc. (VWGoA).
                                                                                                       6   This Declaration is offered in support of VWGoA’s Notice of Removal to the
                                                                                                       7   United States District Court for the Central District of California under 28 U.S.C. §
                                                                                                       8   1332. I have personal knowledge of all the facts set forth herein, and if called upon

                                                                                                       9   to do so by the Court, could and would testify competently thereto. As to those

                                                                                                      10   matters stated upon information and belief, I am informed and believe such matters

                                                                                                      11   to be true.
SQUIRE PATTON BOGGS (US) LLP




                                                                                                                    2.       VWGoA was served with Plaintiff’s Summons and Complaint on
                               555 South Flower Street, 31st Floor




                                                                                                      12
                                                                     Los Angeles, California 90071




                                                                                                           March 28, 2022. A true and correct copy of the Summons and Complaint is
                                                                                                      13
                                                                                                           attached hereto as Exhibit A.
                                                                                                      14
                                                                                                                    3.       VWGoA filed its Answer in state Court on April 25, 2022. A true and
                                                                                                      15
                                                                                                           correct Conformed copy of Defendant’s Answer is attached hereto as Exhibit B.
                                                                                                      16
                                                                                                                    4.       A true and correct copy of the executed Lease Agreement for
                                                                                                      17
                                                                                                           Plaintiff’s vehicle is attached hereto as Exhibit C.
                                                                                                      18
                                                                                                                    5.       VWGoA is a New Jersey corporation with its principal place of
                                                                                                      19
                                                                                                           business in Herndon, Virginia. VWGoA is not, and was not at the time the State
                                                                                                      20
                                                                                                           Court Action was commenced, a citizen of the State of California.
                                                                                                      21
                                                                                                                    6.       This removal notice is timely filed as it is filed within 30 days after
                                                                                                      22
                                                                                                           VWGoA became aware that the case was removable.
                                                                                                      23
                                                                                                                    I declare under penalty of perjury under the laws of the United States of
                                                                                                      24
                                                                                                           America that the foregoing is true and correct.
                                                                                                      25
                                                                                                                    Executed this 27th day of April, 2022 at Los Angeles, California
                                                                                                      26
                                                                                                                                                        /s/ Anthony P. Greco
                                                                                                      27                                                Anthony P. Greco
                                                                                                      28

                                                                                                                                                        -7-                NOTICE OF REMOVAL
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                       EXHIBIT A
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                                                                                                                null / WARBREACH
                                                                                                     Transmittal Number: 24681414
Notice of Service of Process                                                                            Date Processed: 03/28/2022

Primary Contact:           Stevi McIntosh
                           Volkswagen Group of America, Inc.
                           2200 Woodland Pointe Avenue
                           Herndon, VA 20171

Entity:                                       Volkswagen Group of America, Inc.
                                              Entity ID Number 0456194
Entity Served:                                Volkswagen Group of America, Inc.
Title of Action:                              Jessica Ramirez vs. Volkswagen Group of America, Inc.
Matter Name/ID:                               Jessica Ramirez vs. Volkswagen Group of America, Inc. (12138067)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Breach of Warranty
Court/Agency:                                 Riverside County Superior Court, CA
Case/Reference No:                            CVPS2201041
Jurisdiction Served:                          California
Date Served on CSC:                           03/28/2022
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Knight Law Group, LLP
                                              310-552-2250

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
 Case 5:22-cv-00734-MWF-MRW                 Document
               EleetronicallyFILED bj+Superior                1 County
                                               Court ofCalifornia, Filedof04/27/22       Page 10 ofAhA53 Page ID #:10
                                                                          Riverside on 03f16i202211:30
       Case Number,CVPS22010a1 0000010681363 -1r11. Samuel Hamrir•.kJr., Executive OfficerlClerk ofthe Court Ey Cynthia Chagoya, Clerk
                                                                                                                                                               SU
                                         S1.dMIVlO1VS                                                    I                      FOR COURT USE ONLY
                                                                                                                            (SOLO PARA USO DE LA CORTE)
                                   (CITACIOIV JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
VOLKSWAGEN GROUP OF AMERICA, INC., a New Jersey Corporation, and
DOES 1 through 10, inclusive

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO FL DEMANDANTE):
 JESSICA RAivIIREZ
                                                                                                                                    GCE015o(g)

  PNOT ICE! You have been sued, The court may decide against you without your being heard unless you respond within 30 days. Read the information
  belovr.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call vdill not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court cierk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further waming from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attomey, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofrt groups at the Califomia Legal Services Web site (www.laKhelpcallfornia.org), the California Courts Online Self-Help Center
 (tviaw.courtinfo.ca,gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any setUement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 IAVIS01 Lo han demandado. Si no responde dentra de 30 dias, la corte perede decidir en su contr-a sin escuchar su versi6n. Lea la informaci6n a
 continuaci6n.
     Tiene 30 D1AS DE CALENDARIO despues de qtre le entreguen esta citaci6n y papetes legates para presentar una respuesta por escrito en esta
 corie y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
 en forrnato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mas informacibn en el Centro de Ayuda de las Cortes de California (wwrvd.sucorte.ca.gov), en la
 biblr'oteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentacfdn, pida al secretario de la corte
 que le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplfmiento y la corte le
 podra quitar su sueldo, dinero y bienes sin mas advertencia.
    Hay otros requisftas legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisibn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
 programa de servicios legales sin rrnes de lucro. Puede encontrar estos grupos sin frnes de lucro en el sitio web de Callfomia Legal Services,
 (o;,vnv.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de Califomia, (www.sueorte.ca.gov) o poniendose en contacto con la corte o el
 colegio de abogados ioca/es. AV1S0: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10,000 o mas de valor recibida mediante un acuerdo o una conceai6n de arbftraJe en un caso de derecho civil. Tiene que
 pagar e/ gr-avamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:                                                                        Ckse NuMsER:
(Ef nombre y direccion de la corte es):                                                                      (Wu~,oro dr;, case):
Palni Springs Courthotise                                                                                              C--V P s22 pl 1 ❑ 41
3255 E. Tahquitz Canyon Way
Palni SprinRs, CA 92262
The name, ad4ress, and telephone number of plaintiffs attomey, or plaintiff without an attomey, is:
(EI nombre, la direcci6n y el numero de telefono del abogado del demandante, o del demandanfe que no tiene abogado, es):
 K-i
 ]~~~ tC:oristel~ail ~il~iPd, Suite 2500, LOs A11ge1Cs, CA 90067
(310) 552-2250

(Fecha)               0 ~ 16f 2022                                            (Secretario)                   ..~~
                                                                                                     '+JP!' r~~              „        t~ ;
                                                                                                                                    r~R~?'ti~''1                (Ad'untlo)
(1-or proot or servlce ot tnts summons, use Nroot of Service ot 5ummons (form POS-010).)"j
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                     NOTICE TO THE PERSOIV SERVED: You are served
                                     1. Q   as an individual defendant.
                                     2,     as the person sued under the fictitious name of (specify):


                                     3, ~       on behalf of (specify): VOLKSWAGEN GROUP OF AMERICA, INC., a New Jersey Corporation

                                         under: ®         CCP 416.10 (corporafion)                O                     CCP 416.60 (minor)
                                                Q         CCP 416.20 (defunct corporation)        Q                     CCP 416.70 (conservatee)
                                                Q         CCP 416.40 (association or partnership)                       CCP 416.90 (authorized person)
                                                 =      other (specify):
                                     4. Q       by personal delivery on {date):
                                                                                                                                                                  Pano 1 of 1
Form Adopled ror rdandatory Usu                                       SUMMONS                                                          Code ol Clvil Procedure §§ 412.20, 465
  Judiclal Council or Calirornfa          .                                                                                                              v.rnucoliruulo.ca.gov
  SUM-t00 [Ruv. July 1, 2UU4]
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                                                                                                                                                   wvnv.Forms Woddfovtcom
 Case 5:22-cv-00734-MWF-MRW                   Document 1 Filed 04/27/22 Page 11 of 53 Page ID #:11
                    Electronically FILED by Superior Court of California, Counly of Riverside on 03f16J2022 11:30 AM
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 ATTORNEY dR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                                                 FOR COURT USE ONLY
 - Roger Kirnos (SBN 283163)/ Maite C. Colon (SBN 322284)
   Knight Law Group, LLP
   10250 Constellation Blvd, Suite 2500, Los Angeles CA 90067
           TELEPHONE NO.: (310) 552-2250                                   FAX NO.: (310) 552-7973
  ATTORNEY FOR (Name): JESSICA RAMIRBZ
SUPERIOR COURT OF CALIFORNIA, COUNTY OF 1\1 `L Jlu%.
       STREETADDRESS:         3255 E. Ta11C1u1tZ Cany-on Way
       MAILING ADDRESS:       3255 E. TahquttZ Canyon Way
      CITY AND ZIP CODE:      Palnl Springs, CA 92262
             BRANCH NAME:     Pa11T1 Springs COurthoUse

  CASE NAME:
Jessica Ramirez v. Volkswagen Group Of America, Inc., a Califomia Corporation, et al.
         CIVIL CASE COVER SHEET                                                                                                         CASE NUMBER:
                                                                               Complex Case Designation
0          Unlimited     =              Limited                                                                                               G%/F="S22 0'104"I
           (Amount                                                        0       Counter            L—i Jolnder
                                        (Amount
                                                                                                                                         JUDGE:
           demanded                     demanded is                       Filed with first appearance by defendant
           exceeds $25,000)             $25,000 or less)                      (Cal. Rules of Court, rule 3.402)                           DEPT:

                                             tremS 7—o Detow musr De compierea (see (nsrrucrions                               on paqe 1).
     Check one box below for the case type that best describes this case:
     Auto Tort                                   Contract                                                                     Provisionally Complex Civil Litigation
     0     Auto (22)                                   Breach of contract/warranty (06)                                       (Cal. Rules of Court, rules 3.400-3.403)
     0        Uninsured motorist (46)                                 0        Rule 3.740 collections (09)                    0        Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property                         0        Other collections (09)                         0        Construction defect (10)
     DamageM/rongful Death) Tort                                      0        Insurance coverage (18)                        0        Mass tort (40)
     0     Asbestos (04)                                                     Other contract (37)                              E]       Securities litigation (28)
     ~        Product liability (24)                                  Real Property                                           0        Environmental/Toxic tort (30)
     ~        Medical malpractice (45)                                      Eminent domain/Inverse                            ~        Insurance coverage claims arising from the
     0        Other PI/PD/WD (23)                                           condemnation (14)                                          above listed provisionally complex case
                                                                      0     Wrongful eviction (33)                                     types (41)
     Non-PI/PD/WD (Other) Tort
     =        Business tort/unfair business practice (07) 0    Other real property (26)                                       Enforcement of Judgment
     ~        Civil rights (08)                           Unlawful Detainer                                                   0        Enforcement ofjudgment (20)
     ~        Defamation (13)                             0    Commercial (31)                                                Miscellaneous Civil Complaint
     ~        Fraud (16)                                             0         Residential (32)                               0        RICO(27)
     0        Intellectual property (19)                             0         Drugs (38)                                     0        Other complaint (not specified above) (42)
     0        Professional negligence (25)                           Judicial Review
                                                                                                                              Miscellaneous Civil Petition
     0    Other non-PI/PDNVD tort (35)                               0     Asset forfeiture (05)
                                                                                                                              ~        Partnership and corporate governance (21)
     Employment                                                      0         Petition re: arbitration award (11)
                                                                                                                              0        Other petition (not specified above) (43)
     =        Wrongful termination (36)                              0         Writ of mandate (02)
     "        Other employrr                                         n         Other iudicial review (39)
2. This case 77 is               Is not    COmDlex under rule 3_4C10 nf thP Califnrnia RIIIaG nf Cniirt If tha raca ic rmmnlax mark thp
   factors requiring exceptional judicial management:
      a. 0       Large number of separately represented parties                               d.          Large number of witnesses
      b.         Extensive motion practice raising difficult or novel                         e.          Coordination with related actions pending in one or more courts
                 issues that will be time-consuming to resolve                                            in othet counties, states, or countries, or in a federal court
      c.         Substantial amount of documentary evidence                                   f. =        Substantial postjudgment judicial supervision

3. Remedies sought (check all that apply): a.®                             monetary         b. =       nonmonetary; declaratory or injunctive relief                          C. 0       punitive
4. Number of causes of action (specify): 2
5. This case =       is   ®     is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use forrrt CM-095.)

Date:3/16/2022
Maite C- Colon                                                                                           ,
                                       OR PRINT NAM


    . Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
    • File this cover sheet in addition to any cover sheet required by local court rule.
    • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
    • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onl~.
                                                                                                                                                                                             age 1 of 2
Fonn Adopted for Mandatory Use                                                                                                              Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
  Judicial Council of Califomia                                      CIVIL CASE COVER SHEET                                                         Cal. Standards of Judicial Administralion, sld. 3.10
  CM-010 [Rev. July 1, 2007]                                                                                                                                                      www.courtinfo.ca.gov
  Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 12 of 53 Page ID #:12

                                                                                                                                       CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real properry, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                           Antitrustffrade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer             Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach—Seller                  Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud ornegligence)          Environmental/Toxic Tort (30)
          instead ofAuto)                                Negligent Breach of Contract/                    Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                        (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                    case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case—Seller Plaintiff                     Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                          County)
                Wrongful Death                                Case                                            Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                           domestic relations)
          toxic%nvironmental) (24)                       complex) (18)                                        Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                     Administrative Agency Award
          Medical Malpractice—                           Other Coverage                                           (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                       Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                               Other Enforcement of Judgment
     Other PI/PD/l/VD (23)                       Real Property                                                      Case
          Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                                Other Complaint (not specified
                (e.g., assault, vandalism)                                                                    above) (42)
                                                    Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                           Declaratory Relief Only
                                                         Writ of Possession of Real Property
                Emotional Distress                                                                            Injunctive Relief Only (non-
                                                         Mortgage Foreclosure
          Negligent Infliction of                                                                                   harassment)
                                                         Quiet Title
                Emotional Distress                       Other Real Property (not eminent                     Mechanics Lien
          Other PI/PD/WD                                 domain, landlord/tenant, or                          Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                                foreclosure)                                               Case (non-tort/non-complex)
                                                 Unlawful  Detainer                                           Other Civil Complaint
     Business TorUUnfair Business                                                                                  (non-tort/non-complex)
         Practice (07)                              Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                  Governance (21)
          harassment) (08)                               drugs, check this item; othenaise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                 above) (43)
           (13)                                  Judicial Review                                              Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                       Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                            Abuse
         Legal Malpractice                               Writ—Administrative Mandamus                         Election Contest
         Other Professional Malpractice                  Writ—Mandamus on Limited Court                       Petition for Name Change
             (not medical or legal)                          Case Matter                                      Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ—Other Limited Court Case                              Claim
Employment                                                   Review                                           Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                            Commissioner ADDeals
CM-010 [Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                     CIVIL CASE COVER SHEET
Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 13 of 53 Page ID #:13
                           Electronically FILED qy Superior Court ofCalifornia, County ofRiverside on 03f1612022 11:30 AM
            Case Number CVPS2201041 0000014968060- W. Samuel HamrickJr., Executive Officer7Clerk ofthe Court By Cynthia Chagoya, Clerk




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 7   Attorneys for Plaintiff,
     JESSICA RAMIREZ
 8
                                         SUPERIOR COURT OF CALIFORNIA
 9
                                                    COUNTY OF RIVERSIDE
10
     JESSICA RAMIREZ,                                                           Case No.:        G'V    F- S 22 0'1 O 4'1
11
                       Plaintiff,                                               Unlimited Jurisdiction
12
                                                                                COMPLAINT
13          vs.

14   VOLKSWAGEN GROUP OF AMERICA,                                                1. VIOLATION OF SONG-BEVERLY
     INC., a New Jersey Corporation, and DOES 1,                                    ACT - BREACH OF EXPRESS
15                                                                                  WARRANTY
     through 10, inclusive,                     I
                                                                                 2. VIOLATION OF SONG-BEVERLY
16                                                                                  ACT - BREACH OF IMPLIED
                       Defendants.
                                                                                    WARRANTY
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                                                                               Assignedfor All Purposes to the
18                                                                             Honorable
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                                                                               Department
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                                    RAMIREZ v. VOLKSWAGEN COMPLAINT
    Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 14 of 53 Page ID #:14




-    1             Plaintiff, JESSICA RAMIREZ, alleges as follows against Defendants, VOLKSWAGEN
     2     GROUP OF AMERICA, INC., a New Jersey Corporation, ("VOLKSWAGEN"); and DOES 1
     3     through 10 inclusive; on information and belief, formed after an inquiry reasonable under the
     4 I circumstances:

     5                                    DEMAND FOR JURY TRIAL
     6         1. Plaintiff, JESSICA RAMIREZ, hereby demands trial by jury in this action.
     7                                        GENERAL ALLEGATIONS

     8         2. Plaintiff, JESSICA RAMIREZ, is an individual residing in the City of Mountain Center,

     9     County of Riverside, and State of California.

    10         3. Defendant VOLKS WAGEN is and was a New Jersey Corporation registered to do business
    11     in the State of California with its registered office in the City of Sacramento, County of
    12     Sacramento, and State of California.
    13         4. These causes of action arise out of the warranty obligations of VOLKSWAGEN in
    14     connection with a motor vehicle for which VOLKSWAGEN issued a written warranty.
    15         5. Plaintiff does not know the true names and capacities, whether corporate, partnership,
    16     associate, individual or otherwise of Defendant issued herein as Does 1 through 10, inclusive,

    17     under the provisions of section 474 of the California Code of Civil Procedure. Defendant Does 1

    18     through 10, inclusive, are in some manner responsible for the acts, occurrences and transactions
    19     set forth herein, and are legally liable to Plaintiff. Plaintiff will seek leave to amend this Complaint

    20     to set forth the true names and capacities of the fictitiously named Defendant, together with
    21     appropriate charging allegations, when ascertained.
    22         6. All acts of corporate employees as alleged were authorized or ratified by an officer,
    23     director, or managing agent of the corporate employer.
    24         7. The warranty contract is attached and incorporated by its reference as Exhibit 1.
    25 ,      8.   Plaintiff hereby revokes acceptance of the Subject Vehicle.
    26        9.   Pursuant to the Song-Beverly Consumer Warranty Act (herein after the "Act") Civil Code
    27 I sections 1790 et seq. the Subject Vehicle constitutes "consumer goods" used primarily for family
    28 I or household purposes, and Plaintiff has used the vehicle primarily for those purposes.

                                                   -2-
                                    RAMIREZ v. VOLKSWAGEN COMPLAINT
Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 15 of 53 Page ID #:15




 1     10. Plaintiff is a"buyer" of consumer goods under the Act.
 2     11. Defendant VOLKSWAGEN is a"manufacturer" and/or "distributor" under the Act.
 3     12. Plaintiff hereby demands trial by jury in this action.
 4                                     FIRST CAUSE OF ACTION
 5                 Violation of the Song-Beverly Act — Breach of Express Warranty

 6                   (Against Defendant VOLKSWAGEN and Does 1 through 10)
 7     13. Plaintiff incorporates herein by reference each and every allegation contained in the

 8   preceding and succeeding paragraphs as though herein fully restated and re-alleged.

 9     14. On January 29, 2020, Plaintiff entered into a warranty contract with VOLKSWAGEN

10   regarding a 2019 Volkswagen Atlas, VIN: 1V2LR2CA0KC535638, ("the Subject Vehicle"). The
11   terms of the express warranty are described in full in Exhibit 1.
12     15. Defects and nonconformities to warranty manifested themselves within the applicable
13   express warranty period, including but not limited to exterior and engine.
14      16. The nonconformities substantially impair the use, value and/or safety of the Subject
15   Vehicle.
16      17. Plaintiff delivered the Subject Vehicle to an authorized VOLKSWAGEN repair facility

17   for repair of the nonconformities.

18      18. Defendant was unable to conform the Subject Vehicle to the applicable express warranty

19   after a reasonable number of repair attempts.

20      19. Under the Song-Beverly Act, Defendant had an affirmative duty to promptly offer to
21   repurchase or replace the Subject Vehicle at the time if failed to conform the Subject Vehicle to
22   the terms of the express warranty after a reasonable number of repair attempts.
23      20. Defendant failed to comply with its affirmative duty to promptly repurchase the Subject
24   Vehicle upon its qualification as a lemon under the Song-Beverly Act. Only after Plaintiffl s contact
25   of Defendant's customer service, did Defendant make a belated offer. That belated offer was not
26   made in compliance with the Song-Beverly Act for numerous reasons, including but not limited to
27   that Defendant made improper deductions such as deducting negative equity, which was included
28   in the vehicle's total sales price. The belated offer also failed to include, among other things,

                                                     -3-
                             RAMIREZ v. VOLKSWAGEN COMPLAINT
Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 16 of 53 Page ID #:16




 1   reimbursement for all incidental and consequential damages allowed under the Song-Beverly Act
 2   and included invalid terms such as a confidentiality clause and the signing of an undisclosed
 31 release.
 4      21. By failure of Defendant to conform the Subject Vehicle to the express warranty, or to
 5   promptly issue restitution pursuant to the Song Beverly Act, Defendant is in violation of the Song

 6   Beverly Act.
 7      22. Under the Act, Plaintiff is entitled to reimbursement of the price paid for the vehicle less

 8   that amount directly attributable to use by the Plaintiff prior to the first presentation to an

 9   authorized repair facility for a nonconforinity.

10      23. Plaintiff is entitled to all incidental, consequential, and general damages resulting from
11   Defendant's failure to comply with its obligations under the Song-Beverly Act.
12      24. Plaintiff is entitled under the Song-Beverly Act to recover as part of the judgment a sum

13   equal to the aggregate amount of costs and expenses, including attorney's fees, reasonably incurred
14   in connection with the coinmencement and prosecution of this action.
15      25. Plaintiff is entitled in addition to the amounts recovered, a civil penalty of up to two times
16   the amount of actual damages for VOLKSWAGEN's willful failure to comply with its

17   responsibilities under the Act.

18
19                                     SECOND CAUSE OF ACTION
20                  Violation of the Song-Beverly Act — Breach of Implied Warranty
21                   (Against Defendant VOLKSWAGEN and Does 1 through 10)

22      26. Plaintiff incorporates herein by reference each and every allegation contained in the
23   preceding and succeeding paragraphs as though herein fully restated and re-alleged.
24      27. VOLKSWAGEN and its authorized dealership at which Plaintiff purchased the Subject
25   Vehicle had reason to know the purpose of the Subject Vehicle at the time of sale of the Subject
26   Vehicle. The sale of the Subject Vehicle was accompanied by an implied warranty of fitness.
27      28. The sale of the Subject Vehicle was accompanied by an implied warranty that the Subject
28   Vehicle was merchantable pursuant to Civil Code section 1792.

                                                        -4-
                             RAMIREZ v. VOLKSWAGEN COMPLAINT
Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 17 of 53 Page ID #:17




 1       29. The Subject Vehicle was delivered to Plaintiff with latent defects, including, but not limited
 2   to, exterior and engine.
 3       30. The Subject Vehicle was not fit for the ordinary purpose for which such goods are used.
 4       31. The Subject Vehicle did not measure up to the proinises or facts stated on the container or

 51 label.

 6       32. The Subject Vehicle was not of the same quality as those generally acceptable in the trade.
 7       33. Plaintiff justifiably revoked acceptance of the Subject Vehicle under Civil Code, section

 8   1794, et seq. prior to the filing of this Complaint during a contact to VOLKSWAGEN's customer

 9   service.
10       34. Plaintiffs hereby revoke acceptance of the Subject Vehicle.
11       35. Plaintiffs are entitled to replacement or reimbursement pursuant to Civil Code, section
12   1794, et seq.

13       36. Plaintiffs are entitled to rescission of the contract pursuant to Civil Code, section 1794, et
14   seq. and Commercial Code, section 2711.

15      37. Plaintiffs are entitled to recover any "cover" damages under Commercial Code, sections
16   2711, 2712, and Civil Code, section 1794, et seq.
17      38. Plaintiffs are entitled to recover all incidental and consequential damages pursuant to 1794

18   et seq. and Commercial Code, sections 2711, 2712, and 2713 et seq.
19                                        PRAYER FOR RELIEF
20      WHEREFORE, Plaintiff prays for judgment against Defendant, as follows:
21      1. For general, special and actual damages according to proof at trial;

22      2. For rescission of the purchase contract and restitution of all monies expended;
23      3. For diminution in value;
24      4. For incidental and consequential damages according to proof at trial;
25      5. For civil penalty in the amount of two times Plaintiff s actual damages;
26      6. For prejudgment interest at the legal rate;
27      7. For revocation of acceptance of the Subject Vehicle;
28      8. For reasonable attorney's fees and costs of suit; and

                                                      -5-
                                RAMIREZ v. VOLKSWAGEN COMPLAINT
Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 18 of 53 Page ID #:18




 1      9. For such other and further relief as the Court deems just and proper under the
 2          circumstances.
 3
 4 I Dated: March 16, 2022                              KNIGHT LAW GROUP, LLP
 5

 6

 7                                                      ROGER KIRNOS (SBN 283163)
                                                        MATIE C. COLON (SBN 322284)
 8                                                      Attorneys for Plaintiff,
                                                        JESSICA RAMIREZ
 9
10 I Plaintiff, JESSICA RAMIREZ, hereby demands trial by jury in this action.
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                             RAMIREZ v. VOLKSWAGEN COMPLAINT
Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 19 of 53 Page ID #:19




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                            Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 20 of 53 Page ID #:20
3/16/22, 10:17 AM                                                                             VW Digital Owners Manual




                                                                                       Welcome to your

                                                               VW Online Owner's Manual
                                                                                   Dashboard *
                                                                 Your veliicle: 21919 Atlas 3.6 ClL GT2QD6n '>cSLASA
                                                                           VIN: flV2g.li&2CA®KC535635


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                                                         ~ Search in your document
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  Vehicle overview

   Fr®nt view                                                                                                                + Collapse


                                                                                                                             Signs and symbols
                                                                                                                             We thank you for buying a
                                                                                                                             Volkswagen vehicle
                                                                                                                             About this Manual
                                                                                                                             Manual
                                                                                                                                Vehicle overview

                                                                                                                                   Front view

                                                                                                                                   Side vieW

https://api.ownersmanualvw.com/#/vin/1V2LR2CAOKC535638/content/en-US:3CN012723BE:3-0                                                                     1115
                               Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 21 of 53 Page ID #:21
3/16/22, 10:17 AM                                                                                              VW Digital Owners Manual




  Fig. 1 Vehicle front overview.

                                                                                                                                                                + Collapse
  Key to             Fig. 1:

  ~     Front windshield:                                                                                                                                       Signs and symbols

         • Vehicle Identification number (VIN)                         Technical data                                                                           We thank you for buying a
                                                                                                                                                                Volkswagen vehicle
         • Windshield heating =:P~ Windshield heating                                                                                                           About this Manual
        --- - - --    - - - - - - - -- -- --   ------ - --- --- -_ ___- --_ __ _ __ - - _- - -           - - --- - - --       - - - - --- --   _ _ .- -- -- -
                                                                                                                                                                Manual
         •   Windshield wipers                 Windshield wipers and washer
                                                                   _..._..__._...........   ------ - -   - -    -------__._-~ - - - - - ,..--------•--- —          Vehicle over~'
                                                                                                                                                                               ~tew

         • Camera for assistance systems                        Driver assistance systems                                                                            Front view

                                                                                                                                                                     Side view
         • Rain sensor (if equipped) =., Windshield wipers and washer
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         • Low-light sensor (if equipped) =:;~ Lights

         • Light Assist (if equipped) =~ Lights

  ~     Engine hood release =:~, In the engine compartment

  ~     Headlights (on left and right) =;, Lights =:;~ Replacing light bulbs

  ~     Radar sensor behind the Volkswagen emblem:

         • Adaptive Cruise Control (ACC) (if equipped) ~ Adaptive Cruise Control (ACC)

         • Front Assist (if equipped)               Forward Collision Warning (FrontAssist)

  ~     Fog lights/static cornering lights (on left and right, if equipped) ==;~ Lights =:;~ Replacing light bulbs

  ~     Sensors for:

         • Park Distance Control (PDC) (if equipped) =;~ Park Distance Control (PDC)

         • Park Assist (if equipped) =o, Park Assist

                                                                                                                     + Collapse
  (D Camera for Area View ~ Area View

                                                                                                                     Signs and symbols
  $ide view
                                                                                                                     We thank you for buying a
                                                                                                                     Volkswagen vehicle
                                                                                                                     About this Manual
                                                                                                                     Manual
                                                                                                                        Vehicle overview

                                                                                                                          Front view

                                                                                                                          Side view

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  Fig. 2 Vehicle side overview.

  Key to =;~ Fig. 2 :

  G)    Roof antenna ~ Consumer information

  I~ Roof rails (if equipped) ~ Roof rack                                                                          + Collapse

  ~     Outside door handles ~ Doors and power locking system                                                      Signs and symbols

  Q Outside mirror ~ Mirrors                                                                                       We thank you for buying a
                                                                                                                   Volkswagen vehicle
         • Display for Blind Spot Monitor (if equipped) ~ Blind Spot Monitor
                                                                                                                   About this Manual

         • Area View camera (if equipped) ~ Area View                                                              Manual
                                                                                                                      Vehicle overview
         • Additional turn signal light =:;, Lights
                                                                                                                         Front view

  a Sensors:                                                                                                            Side view

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         • Park Assist (if equipped) =:i~ Park Assist

  (D Lift points for the jack ~ Lifting the vehicle with the vehicle jack

  (D Fuel filler flap ~ Refueling

  Numbers (Z through © are in the same place on the left side of the vehicle.


  Rear va ew




                                                                                                                   + Collapse


                                                                                                                   Signs and symbols
                                                                                                                   We thank you for buying a
                                                                                                                   Volkswagen vehicle
                                                                                                                   About this Manual
                                                                                                                   Manual

  Fig. 3 Vehicle rear overview.                                                                                       Vehicle overvieW

                                                                                                                         Front view
  Key to =:~ Fag. 3 :
                                                                                                                        Side view

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        Rear window:

         • Rear window defroster =:~, Climate control

         • rear windshield wiper =:;~ VVindshield wipers and washer

         • Roof antenna             Consumer information

  a Volkswagen emblem
  ~     Taillights (on left and right) ==~ Lights =:;~ Replacing light bu/bs

  ~     Areas in the trunk lid:

         • Button to open the trunk lid                Power operation of the trunk lid

         • Camera for Rear View and Area View                         Rear View Camera system,            Area View

         • License plate lights             Replacing light bulbs

  @ Sensors for the Blind Spot Monitor and Rear Traffic Alert (approximate location on left and right, if equipped) ~ Blind Spot Monitor
  and ~ Rear Traffic Alert
                                                                                                           + Collapse
  Q Sensors (on left and right):
                                                                                                                                 Signs and symbols
         • Park Distance Control (PDC) (if equipped)                         Park Distance Control (PDC)
                                                                                                                      -          We thank you for buying a
         • Park Assist (if equipped)               Park Assist                                                                   Volkswagen vehicle
                                                                                                                                 About this Manual
  O Trailer hitch preparation ~                Trailer towing
                                                                                                                                 Manual
  ~     Threaded hole for the rear towing eye behind a cover (if equipped) ~ Towing                                                 Vehicle overview

                                                                                                                                       Front view
  ®river d®®r overview
                                                                                                                          -- -        Side view

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  Fig. 4 Overview of the controls in the driver door.
                                                                                                                             + Collapse
  Key to =i~ Fig. 4 :

  ~     Door handle                                                                                                          Signs and symbols

  +~ Power locking button for locking and unlocking the vehicle 12                             Doors and power locking sys   We thank you for buying a
                                                                                                                             Volkswagen vehicle
  ~     Indicator light for the power locking system                     Doors and power locking system                      About this Manual

  a     Switches for operating the power windows:                         Power windows                                      Manual

         • Power windows ®                                                                                                      Vehicle overview

                                                                                                                                   Front view
         • Safety switch for rear power windows ®
                                                                                                                                   Side view
  .-.
https://api.ownersmanualvw.com/#/vin/I V2LR2CAOKC535638/content/en-US:3CN012723BE:3-0                                                                    7/15
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         • Adjusting outside mirrors

         • Outside mirror heating ~1

         • Fold outside mirrors ~

  ~     Switch for releasing the trunk lid

  a     Storage compartment =;~ Storage areas

  Q     Light




                 k: ;
                                                                   7       1




                                                                                                                          + Collapse
                                                                                              Z
                                                                                          ~~ ~
                                                                                          ~------                         Signs and symbols

                                                                                          ~-                              We thank you for buying a
                                                                                                                          Volkswagen vehicle
                                                                                                                          About this Manual
                                                                                   C^T'
                                                            ~ ..       ,       ,   '                                      Manual
  ~                     ~ e ~ •`             _   — __
         f   •f`j~ M                                                           .   s
                                                                                                                             Vehicle overview
                                   10                                                                                           Front view
                  J~
                                                                                                                                Side view
   E=in F flrixiov cirto n~iov~iio~ni
https://api.ownersmanualvw.com/#/vin/1V2LR2CAOKC535638/content/en-US:3CN012723BE:3-0                                                                  9115
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  Key to =;, Fig. 5 :

  ~     Multi-function steering wheel controls =;~ Instrument cluster, =;~ Cruise control, ==~ Adaptive Cruise Control (ACC) :

         • Volume setting for radio, navigation system notifications (if applicable), or telephone calls ::d—~

         • Voice control activation 0.0

         • Display Phone main menu or accept telephone calls ~

         •   Audio, navigation 14

         • Control buttons for the Volkswagen Information System r"z, — OK                         A„ 4

         • Cruise control or Adaptive Cruise Control buttons (~n, SET, CNL, RES, -F —-, T

  Q Air vents             Climate control

  ~     Lever for         Lights:

         • High beams =D — jD

         • Headlight flasher =Olx                                                                                   + Collapse

         • Turn signals 43 4>                                                                                       Signs and symbols
                                                                                                                    We thank you for buying a
  0 Instrument cluster:                                                                                             Volkswagen vehicle
         • Instruments and displays                  Instrument cluster                                             About this Manual
                                                                                                                    Manual
         • Warning and Indicator lights                  Warning and indicator lights
                                                                                                                       Vehicle overview

  a Windshield wiper and washer lever =;~ Windshield wipers and washer:                                                   Front view

         • Windshield wiper           HiGH - LOW                                                                          Side view

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         •   Interval settings for the wipers or sensitivity for the rain sensor 6•1                             (if equipped)

         •   Windshield wiper QFF

         •   One-tap wiping lx

         •   Automatic wipe/wash for windshield f~,

         •   Rear window wiper Q


         • Rear window automatic wipe/wash ~

  @     Horn

  Q Ignition switch (vehicles without Keyless Access) or location for the emergency start feature for the Keyless Access system =:;~ Start-
  ing and stopping the engine

  0      Driver front airbag =:;~ Airbag system

  (D Pedals =:;~ Pedals

  S     Storage compartment =:;~ Storage areas                                                                                                           + Collapse

   11   Lever for releasing the engine hood ==;~!n the engine compartment
                                                                                                                                                         Signs and symbols
   12 Lever for the adjustable steering wheel ~ Manually adjusting the steering wheel position
                                                                                                                                                         We thank you for buying a
                                                                                                                                                         Volkswagen vehicle
   1~ Headlight switch :8-~ Lights:
                                                                                                                                                         About this Manual
         • Off position
                                                                                                                                                         Malival
         • Automatic headlights -auTO- (if equipped)                                                                                                        Vehicle overview
             -- -   --   - -- - -- - ----   - _ _---    --- - --- - -   - -    --      -- -- -   - - ---     -              - -- - ---.. ..-..
                                                                                                                                                               Front view
         • Parking lights :Dez and low beams 0,C)
                          ------ --- ----          - ----- ---- -- -- -                          -    -           - -- -        - --             - ---        Sideview

https:l/api.ownersmanualvw.com/#/vin/1V2LR2CAOKC535638/content/en-US:3CN012723BE:3-0                                                                                                 10115
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   upper center c®ns®oe ---_                                  —




  Fig. 6 Overview of the upper center console.


  Key to     =;~ Fig. 6 :

   ~    Storage compartment             =:;~ Storage and equipment
                                                                                                                        + Collapse
  ~     Air vents =:;~ Climate control
                                                                                                                        Signs and symbols
  ~     Infotainment system =*Bookletlnfotainment system,
                                                                                                                        We thank you for buying a
  (D Seat ventilation button V or Lf and seat heating buttons                           or      Climate control         Volkswagen vehicle

  ~     Controls:                                                                                                       About this Manual
                                                                                                                        Manual
         • Manual air conditioning            =:;~ Climate control
                                                                                                                           Vehicle overview
         • Climatronic       ==;~ Climate control                                                                            Front view
                                                                                                                             Side view
  Q Button for the emergency flashers A=;~ !n an emergency
https://api.ownersmanualvw.com(#/vin/ 1V2LR2CAOKC535638/content/en-US:3CN012723BE:3-0                                                               11115
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          • Start-stop system               Start-stop system

          • Steering wheel heating               Climate contro!

  ID PASSENGER AIR BAG QFF M light (front airbag for front seat passenger) -;~Airbag system


  L®wer serater c®ns®le



                                                       7




                                                       E']


    ~~




      3                      ~



      4 ;           _                                                                                                               + Collapse
                                                   ',._ . _.._..


  Fig. 7 Overview of the lower center console.                                                                                      Signs and symbols
                                                                                                                                    We thank you for buying a
  Key to =:i% Fig. 7:                                                                                                               Volkswagen vehicle

  (D Automatic transmission selector lever                         =:;~ Automatic transmission                                      About this Manual
                                                                                                                                    Nlanual
  ~       Starter bufton (for vehicles with Keyless Access) START - ENG1NE - STOP                        Starting and stopping tl
                                                                                                                                       Vehicle overview
  ~       Electronic parking brake 0=i , Electronic parking brake
                                                                                                                                         Front view
  ~       ButtonS for:
                                                                                                                                         Side view

https://api.ownersmanualvw.com/#/vin/ 1V2LR2CAOKC535638/contenden-US:3CN012723BE:3-0
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         • Area View (if equipped) f' t

         • Park Assist ~~ Park Assist

   @ Area for:

         • Storage compartment                  Storage and equipment

         • USB port, AUX-IN jack =*Bookletlnfotainmentsystem,

         • 12 Volt socket            Electrical sockets in the vehicle

  ~     Cup holders ~ Cup holders

  ~     Rotary knob for 4MOTION Active Control ~ 4MOTION Active Control


  Fr®nt passenger sisle overview



                                                                                                                   + Collapse


                                                                                                                   Signs and symbols
                                                                                                                   We thank you for buying a
                                                                                                                   Volkswagen vehicle

                                                                                                                   About this Manual
                                                                                                                   Manual
  Fig. 8 Overview of the front passenger side.
                                                                                                                      Vehicle overview

  Key to =;~ Fig. 8 :                                                                                                    Front view

                                                                                                                         Side view
  (D Air vent =:;, Climate control
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  ~     Opening handle for the lockable glove compartment =~, Storage areas

  Applicable only in the United States


  R®®f c®ns®le

                                 Symbol                                      Meaning                                                      See


                           Q, M
                              7%, ~,         ~~                              Interior and reading lights.                                      Lights



                                   ~                                         Power sunroof.                                                    Power sunroof


                                                                             Buttons for sunshade.                                             Power sunroof



                                                                                                                                          ~ VW Car-Net°

                                                                                                                            + Collapse
                               n zroot sos
                                                                             3-button module for vehicles with Car-Net° .   Signs and symbols
                                                                                                                            We thank you for buying a
                                                                                                                            Volkswagen vehicle
                                                                                                                            About this Manual
                                                                                                                            Manual
                                                                                                                               Vehicle overvieev

                                                                                                                                  Front view
                                    123                                      Buttons for HomeLink° Universal Transmitter.         Side view
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                                                                                                                                            + Collapse

                                                                                                                                            Signs and symbols
                                                                                                                                            We thank you for buying a
                                                                                                                                            Volkswagen vehicle
                                                                                                                                            About this Manual
                                                                                                                                            Manual
                                                                                                                                                Vehicle overview

                                                                                                                                                    Front view

                                                                                                                                                    Side view

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              Ca-se Number CVPS2201041 0000014969062 -'dV. Samuel HarnrickJr., Executive OflicerJClerk of tlle Court By Cynthia Chagoya, Clerk


                                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

 ❑        BANNING 135 N. Alessandro Rd., Banning, CA 92220                ❑   MURRIETA 30755-D Auld Rd., Suite 1226, Murlieta, CA 92563
 ❑        BLYTHE 265 N. Broadway, Blythe, CA 92225                        ❑
                                                                          x   PALM SPRINGS 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262
 ❑        HEMET 880 N. State St., Hemet, CA 92543                         ❑   RIVERSIDE 4050 Main St., Riverside, CA 92501
 ❑        MORENO VALLEY 13800 Heacock St., Ste. D201,                     ❑   TEMECULA 41002 County Center Dr., #100, Temecula, CA 92591
          Moreno Valley, CA 92553                                                                                                                                    RI-030
 ATTORNEY OR PARTY WITHOUT ATTORNEY Name,StateBarNumberandAddress                                                            FORCOURTUSEONLY
  Roger Kirnos (SBN 28316 )/ Maite C. Colon (SN 322284)
  Knight Law Group, LLP
  10250 Constellation Blvd, Suite 2500
  Los Angeles, CA 90067
          TELEPHONE NO: (31 0) 552-2250      FAx NO. (Optienaq: (310) 552-7973
     E-MAILADDRESS (Optional): emailservice@knightlaw.com                                                                                     .
          ATTORNEY FOR (Name): JESSICA RAMIREZ

              PLAINTIFF/PETITIONER: JESSICA RAMIREZ



          DEFENDANT/RESPONDENT: VOIkSwagen GrOup Of Amerlca, Inc., et al.                                CASE NUMBER:
                                                                                                               G\,eF"S22O'1                        04'1

                                                                 CERTIFICATE OF COUNSEL

 The undersigned certifies that this matter should be tried or heard in the court identified above for the reasons
 specified below:

      ❑
      X        The action arose in the zip code of: 92234


      ❑        The action concerns real property located in the zip code of:


      ❑        The Defendant resides in the zip code of:




 For more information on where actions should be filed in the Riverside County Superior Courts, please refer
 to Local Rule 1.0015 at www.riverside.courts.ca.gov.


 I certify (or declare) under penalty of perjury under the laws of the State of California that the foregoing is
 true and correct.



     Date 03/16/22




     Maite C. Colon                                                                                     ~Z'
          (TYPE OR PRINT NAME OF 0 ATTORNEY 0 PARTY MAKING DECLARATION)                                        (SIGNATURE)




                                                                                                                                                             Page 1 of 1
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RI-030 [Rev.08/15/13]
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                   SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                  Palm Springs Courthouse
                                    3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262

  Case Number:            CVPS2201041

                          RAMIREZ vs VOLKSWAGEN GROUP OF AMERICA, INC., A NEW JERSEY
  Case Name:
                          CORPORATION




                                            NOTICE OF DEPARTMENT ASSIGNMENT

       The above entitled case is assigned to the Honorable Kira L. Klatchko in Department PS1 for AII Purposes.

      Any disqualification pursuant to CCP section 170.6 shall be filed in accordance with that section.

       The court follows California Rules of Court, Rule 3.1308(a)(1) for tentative rulings (see Riverside Superior Court
       Local Rule 3316). Tentative Rulings for each law and motion matter are posted on the internet by 3:00 p.m. on the
       court day immediately before the hearing at http://riverside.courts.ca.gov/tentativerulings.shtml. If you do not have
       internet access, you may obtain the tentative ruling by telephone at (760) 904-5722.

      To request oral argument, you must (1) notify the judicial secretary at (760) 904-5722 and (2) inform all other
      parties, no later than 4:30 p.m. the court day before the hearing. If no request for oral argument is made by
      4:30 p.m., the tentative ruling will become the final ruling on the matter effective the date of the hearing.

       The filing party shall serve a copy of this notice on all parties.


                   Interpreter services are available upon request. If you need an interpreter, please complete and submit the online
                   Interpreter Request Form (https://riverside.courts.ca.gov/Divisions/Interpreterinfo/ri-in007.pdf) or contact the clerk's
                   office and verbally request an interpreter. AII requests must be made in advance with as much notice as possible,
        .•         and prior to the hearing date in order to secure an interpreter.
                   Assistive listening systems, computer-assisted real time captioning, or sign language interpreter services are
                   available upon request if at least 5 days notice is provided. Contact the Office of the ADA Coordinator by calling
                   (951) 777-3023 or TDD (951) 777-3769 between 8:00 am and 4:30 pm or by emailing ADA@riverside.courts.ca.gov
                   to request an accommodation. A Request for Accommodations by Persons With Disabilities and Order (form MC-
                   410) must be submitted when requesting an accommodation. (Civil Code section 54.8.)


      Dated: 03/16/2022                                                 W. SAMUEL HAMRICK JR.,
                                                                        Court Executive Officer/Clerk of Court




                                                                        by:

                                                                              C. Chagoya, Deputy Clerk
CI-NODACV
(Rev. 02/16/21)
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                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF RI!/ERSIDE
                                               Palm Springs Courthouse
                                 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262

  Case Number:          CVPS2201041

                        RAMIREZ vs VOLKSWAGEN GROUP OF AMERICA, INC., A NEW JERSEY
  Case Name:
                        CORPORATION


  VOLKSWAGEN GROUP OF AMERICA, INC., A NEW JERSEY CORPORATION



                                   NOTICE OF CASE MANAGEMENT CONFERENCE

      The Case Management Conference is scheduled as follows:


                           Hearing Date                  Hearing Time                   De artment
                            09/14/2022                      8:30 AM                  Department PS1
                    Location of Hearing:
                                 3255 E. Tah uitz Can on Wa , Palm S rin s, CA 92262



      No later than 15 calendar days before the date set for the case management conference or review, each party must
      file a case management statement and serve it on all other parties in the case. CRC, Rule 3.725.

      The plaintiff/cross-complainant shall serve a copy of this notice on all defendants/cross-defendants who are named
      or added to the complaint and file proof of service.

      Any disqualification pursuant to CCP Section 170.6 shall be filed in accordance with that section.


      Remote Appearance at Hearing: The court strongly encourages parties and counsel to appear remotely for non-
      evidentiary hearings in civil cases. Pursuant to local rule 3132, persons intending to appear remotely shall notify all
      opposing parties of their intention to appear remotely before the hearing. Notice may be given informally, including
      by telephone, email, or text message. To appear remotely, on the day of the hearing, either use your computer,
      mobile device, or dial (833) 568-8864 (toll free) or (669) 254-5252, when prompted enter:

                                                 Meeting ID: 160-520-9376 #
                                      Access Code: Press the # key (no number after the #)

      Please MUTE your phone until your case is called, and it is your turn to speak. It is important to note that you must
      call twenty (20) minutes prior to the scheduled hearing time to check in or there may be a delay in your case being
      heard.



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                  office and verbally request an interpreter. AII requests must be made in advance with as much notice as possible,
        .•        and prior to the hearing date in order to secure an interpreter.
                  Assistive listening systems, computer-assisted real time captioning, or sign language interpreter services are
                  available upon request if at least 5 days notice is provided. Contact the Office of the ADA Coordinator by calling
                  (951) 777-3023 or TDD (951) 777-3769 between 8:00 am and 4:30 pm or by emailing ADA@riverside.courts.ca.gov
                  to request an accommodation. A Request for Accommodations by Persons With Disabilities and Order (form MC-
                  410) must be submitted when requesting an accommodation. (Civil Code section 54.8.)



                                                       CERTIFICATE OF MAILING
      I certify that I am currently employed by the Superior Court of California, County of Riverside, and that I am not a
      party to this action or proceeding. In my capacity, I am familiar with the practices and procedures used in
      connection with the mailing of correspondence. Such correspondence is deposited in the outgoing mail of the
      Superior Court. Outgoing mail is delivered to and mailed by the United States Postal Service, postage prepaid, the
      same day in the ordinary course of business. I certify that I served a copy of the Notice of Case Management
      Conference on this date, by depositing said copy as stated above.


      Dated: 03/16/2022                                                W. SAMUEL HAMRICK JR.,
                                                                       Court Executive Officer/Clerk of Court



                                                                       by:

                                                                             C. Chagoya, Deputy Clerk
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 4   10250 Constellation Blvd., Suite 2500
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 5
     Telephone: (310) 552-2250
 6   Fax: (310) 552-7973

 7   Attorneys for Plaintiff,
     JESSICA RAlV1IItEZ
 8

 9                                           SUPERIOR COURT OF CALIFORNIA
10                                                     COUNTY OF RIVERSIDE
11   JESSICA RAMIREZ,                                                           Case No.: CVPS2201041
12                                                                              Unlimited Jurisdiction
13                       Plaintiff,
                                                                                DEMAND FOR JURY TRIAL
14
              vs.                                                                Assignedfor All Purposes to the
15                                                                               Honorable
16
     VOLKSWAGEN GROUP OF AMERICA,                                               Department
17   INC., a New Jersey Corporation, and DOES
     1 through 10, inclusive,
18

19
                         Defendants.
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                                                             -1-
                                                    DEMAND FOR JURY TRIAL
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 1                                    DEMAND FOR JURY TRIAL
 2    Plaintiff, JESSICA RAMIREZ, hereby demands trial by jury in this action.
 3
 4    Dated: March 16, 2022                                    KNIGHT LAW GROUP, LLP
 5
 6
                                                               Roger Kirnos (SBN 283163)
 7
                                                               Maite C. Colon (SBN 322284)
 8                                                             Attorneys for Plaintiff,
                                                               JESSICA RAMIREZ
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                                      DEMAND FOR JURY TRIAL
Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 41 of 53 Page ID #:41




                        EXHIBIT B
                                                                                             Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 42 of 53 Page ID #:42



                                                                                                 1   Squire Patton Boggs (US) LLP
                                                                                                     Sean P. Conboy, No. 214487
                                                                                                 2      sean.conboy@squirepb.com
                                                                                                     Anthony P. Greco, No. 296398
                                                                                                 3     anthony.greco@squirepb.com
                                                                                                     555 South Flower Street, 31st Floor
                                                                                                 4   Los Angeles, CA 90071
                                                                                                     Telephone:    +1 213.624.2500
                                                                                                 5   Facsimile:    +1 213.623.4581

                                                                                                 6
                                                                                                     Attorneys for Defendant
                                                                                                 7   Volkswagen Group of America, Inc.

                                                                                                 8
                                                                                                                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                                 9
                                                                                                                                          COUNTY OF RIVERSIDE
                                                                                                10
SQUIRE PATTON BOGGS (US) LLP




                                                                                                11
                                                                                                     JESSICA RAMIREZ,                                       Case No. CVPS2201041
                               555 South Flower Street, 31st Floor




                                                                                                12
                                                                     Los Angeles, CA 90071




                                                                                                                            Plaintiff,                      DEFENDANT VOLKSWAGEN GROUP OF
                                                                                                13                                                          AMERICA, INC.’S ANSWER TO COMPLAINT
                                                                                                              v.
                                                                                                14                                                          Complaint Filed: March 16, 2022
                                                                                                     VOLKSWAGEN GROUP OF AMERICA,
                                                                                                15   INC., a New Jersey Corporation; and DOES 1
                                                                                                     through 10, inclusive
                                                                                                16
                                                                                                                            Defendants.
                                                                                                17

                                                                                                18

                                                                                                19            COMES NOW Defendant Volkswagen Group of America, Inc., and in answer to

                                                                                                20   Plaintiff’s Complaint on file herein alleges and avers as follows:

                                                                                                21                                            GENERAL DENIAL

                                                                                                22            Defendant Volkswagen Group of America, Inc. (“Defendant” or “VWGoA”), for itself

                                                                                                23   and for no other person or entity, files this general denial pursuant to Code of Civil Procedure

                                                                                                24   section 431.30(d) and hereby denies – each and every, all and singular, generally and specifically

                                                                                                25   – the allegations contained in Plaintiff’s Complaint, and further specifically denies that Plaintiff

                                                                                                26   has been injured in any way or damaged in any sum or amount whatsoever.

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                                                                                                                                                      -1-
                                                                                                     ANSWER TO COMPLAINT                                                           CASE NO. CVPS2201041
                                                                                                     010-9373-2338/1/AMERICAS
                                                                                             Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 43 of 53 Page ID #:43



                                                                                                 1                                            AFFIRMATIVE DEFENSES

                                                                                                 2            AS AND FOR ITS SEPARATE, DISTINCT, AND AFFIRMATIVE DEFENSES to the

                                                                                                 3   Complaint on file herein and to each cause of action thereof, this answering Defendant alleges as

                                                                                                 4   follows:

                                                                                                 5                                     FAILURE TO STATE A CAUSE OF ACTION

                                                                                                 6                                                (As to all claims)

                                                                                                 7            1.       The subject Complaint fails to state facts sufficient to constitute a cause of action

                                                                                                 8   upon which relief may be granted against this answering Defendant.

                                                                                                 9                                           LACK OF NONCONFORMITY
                                                                                                10                                                (As to all claims)
SQUIRE PATTON BOGGS (US) LLP




                                                                                                11            2.       There is no warranted defect or nonconformity with respect to the subject vehicle.
                               555 South Flower Street, 31st Floor




                                                                                                12   Moreover, the subject vehicle’s alleged defects – if any exist – do not substantially impair the use,
                                                                     Los Angeles, CA 90071




                                                                                                13   value or safety of the subject vehicle so as to warrant or support Plaintiff’s Complaint, and thus

                                                                                                14   Plaintiff is barred from the recovery sought therein.

                                                                                                15                                NO REASONABLE NUMBER OF REPAIR ATTEMPTS

                                                                                                16                                                (As to all claims)

                                                                                                17            3.       Plaintiff did not allow this answering Defendant or its dealer(s) a reasonable

                                                                                                18   number of attempts to conform the subject vehicle to the express warranty applicable to it.

                                                                                                19                 CONDITIONS BEYOND CONTROL OF DEFENDANT – CIV. CODE § 1793.2(b)
                                                                                                20                              (As to all Song-Beverly Consumer Warranty Act claims)

                                                                                                21            4.       Any delay in the repair of the subject vehicle or any alleged defect or

                                                                                                22   nonconformity thereof was caused by conditions beyond this answering Defendant’s control.

                                                                                                23   (Civil Code § 1793.2(b)).

                                                                                                24              CONDITIONS BEYOND CONTROL OF DEFENDANT – CIV. CODE § 1793.22(b)(3)

                                                                                                25                              (As to all Song-Beverly Consumer Warranty Act claims)

                                                                                                26            5.       Any delay in the repair of the subject vehicle or any alleged defect or

                                                                                                27   nonconformity was due to conditions beyond this answering Defendant’s control. (Civil Code §

                                                                                                28   1793.22(b)(3)).

                                                                                                                                                        -2-
                                                                                                     ANSWER TO COMPLAINT                                                              CASE NO. CVPS2201041
                                                                                                     010-9373-2338/1/AMERICAS
                                                                                             Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 44 of 53 Page ID #:44



                                                                                                 1                                      LACK OF WARRANTY COVERAGE

                                                                                                 2                                              (As to all claims)

                                                                                                 3            6.       The alleged defects or nonconformities at issue, and any alleged damage resulting

                                                                                                 4   therefrom, were and are expressly excluded from and otherwise not covered by the express

                                                                                                 5   written limited warranty applicable to the subject vehicle.

                                                                                                 6                                             FAULT OF OTHERS

                                                                                                 7                                              (As to all claims)

                                                                                                 8            7.       The losses and damages complained of by Plaintiff, if any, were proximately

                                                                                                 9   caused by the negligence, acts, omissions and/or fault of Plaintiff and parties, individuals, or
                                                                                                10   entities other than this answering Defendant.
SQUIRE PATTON BOGGS (US) LLP




                                                                                                11                                         ALTERATION OF PRODUCT
                               555 South Flower Street, 31st Floor




                                                                                                12                                              (As to all claims)
                                                                     Los Angeles, CA 90071




                                                                                                13            8.       Upon information and belief, the subject vehicle was altered, changed, or

                                                                                                14   otherwise modified by parties, individuals, or entities other than this answering Defendant, and

                                                                                                15   said modifications, changes, or alterations were a proximate cause of the damages alleged by

                                                                                                16   Plaintiff, if any there were.

                                                                                                17                        MISUSE OF VEHICLE AND FAILURE TO FOLLOW INSTRUCTIONS

                                                                                                18                                              (As to all claims)

                                                                                                19            9.       Upon information and belief, any alleged defects or nonconformities in the subject
                                                                                                20   vehicle were caused solely and exclusively by misuse, abuse, and failure to use the subject vehicle

                                                                                                21   in the manner in which it was intended, and by a failure to follow instructions regarding the subject

                                                                                                22   vehicle. Such misuse, abuse, and failure to follow instructions on the part of Plaintiff and parties,

                                                                                                23   individuals, and entities other than this answering Defendant, proximately caused or contributed

                                                                                                24   to the damages complained of, if any there were.

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                                                                                                     ANSWER TO COMPLAINT                                                            CASE NO. CVPS2201041
                                                                                                     010-9373-2338/1/AMERICAS
                                                                                             Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 45 of 53 Page ID #:45



                                                                                                 1                                    UNAUTHORIZED OR UNREASONABLE USE

                                                                                                 2                              (As to all Song-Beverly Consumer Warranty Act claims)

                                                                                                 3            10.      Upon information and belief, any alleged defects or nonconformities in the subject

                                                                                                 4   vehicle were caused by the unauthorized or unreasonable use of the subject vehicle following sale.

                                                                                                 5   (Civil Code § 1794.3).

                                                                                                 6                        FAILURE TO COMPLY WITH APPLICABLE PROVISIONS OF LAW

                                                                                                 7                              (As to all Song-Beverly Consumer Warranty Act claims)

                                                                                                 8            11.      Plaintiff has failed to comply with the requirements of the applicable statutory

                                                                                                 9   provisions for asserting the causes of action alleged in the Complaint including, but not limited to,
                                                                                                10   those set forth under the provisions the Song-Beverly Consumer Warranty Act, Civil Code
SQUIRE PATTON BOGGS (US) LLP




                                                                                                11   section 1791 et seq.; accordingly, Plaintiff is barred from asserting such claims in this action.
                               555 South Flower Street, 31st Floor




                                                                                                12          FAILURE TO EXHAUST DISPUTE RESOLUTION PROCESS – CIVIL CODE § 1793.22(C)
                                                                     Los Angeles, CA 90071




                                                                                                13                              (As to all Song-Beverly Consumer Warranty Act claims)

                                                                                                14            12.      Upon information and belief, Plaintiff did not resort to, exhaust, or otherwise fully

                                                                                                15   comply with a qualified third-party dispute resolution process, pursuant to Civil Code section

                                                                                                16   1793.22(c).

                                                                                                17                                                 COMPLIANCE

                                                                                                18                              (As to all Song-Beverly Consumer Warranty Act claims)

                                                                                                19            13.      This answering Defendant has complied with its obligations under the implied
                                                                                                20   warranty and limited express warranty, and with the requirements of the Song-Beverly Consumer

                                                                                                21   Warranty Act.

                                                                                                22                                            CIVIL CODE § 1794(e)(2)

                                                                                                23                              (As to all Song-Beverly Consumer Warranty Act claims)

                                                                                                24            14.      This answering Defendant maintains a qualified third-party dispute resolution

                                                                                                25   process which complies or substantially complies with Section 1793.22 and therefore this

                                                                                                26   answering Defendant is not liable for civil penalties pursuant to Section 1794(e)(2).

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                                                                                                                                                        -4-
                                                                                                     ANSWER TO COMPLAINT                                                             CASE NO. CVPS2201041
                                                                                                     010-9373-2338/1/AMERICAS
                                                                                             Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 46 of 53 Page ID #:46



                                                                                                 1                                          LACK OF VERTICAL PRIVITY

                                                                                                 2                                        (As to all implied warranty claims)

                                                                                                 3            15.      Plaintiff’s claims for breach of implied warranty are barred by a lack of vertical

                                                                                                 4   privity between Plaintiff and this answering Defendant, as Plaintiff did not purchase the subject

                                                                                                 5   vehicle from or otherwise contract with this answering Defendant.

                                                                                                 6                                        FAILURE TO MITIGATE DAMAGES

                                                                                                 7                                                 (As to all claims)

                                                                                                 8            16.      Plaintiff was under a duty to mitigate any damages which may have been

                                                                                                 9   sustained, and Plaintiff failed to act reasonably and properly to mitigate any damages or losses
                                                                                                10   Plaintiff claims to have sustained, if any there were. Accordingly, Plaintiff is barred from
SQUIRE PATTON BOGGS (US) LLP




                                                                                                11   recovering any damages, which could have been avoided by reasonable mitigation efforts.
                               555 South Flower Street, 31st Floor




                                                                                                12                                                      REPAIR
                                                                     Los Angeles, CA 90071




                                                                                                13                                                 (As to all claims)

                                                                                                14            17.      If there were any nonconformities or defects manifested in the subject vehicle

                                                                                                15   (which this answering Defendant expressly denies), those nonconformities or defects have been

                                                                                                16   fully serviced or repaired to conform the vehicle to the applicable warranty(ies).

                                                                                                17                                              EQUITABLE DEFENSES

                                                                                                18                                     (As to all claims seeking equitable relief)

                                                                                                19            18.      Plaintiff is estopped from seeking equitable relief from this answering Defendant
                                                                                                20   because, upon information and belief, Plaintiff’s own inequitable conduct precludes equitable

                                                                                                21   relief under the doctrines of unclean hands, equitable estoppel, and/or laches.

                                                                                                22                         EXPIRATION OF IMPLIED WARRANTY – CIVIL CODE § 1791.1

                                                                                                23                              (As to all Song-Beverly Consumer Warranty Act claims)

                                                                                                24            19.      Any and all implied warranties, if any there were, including but not limited to

                                                                                                25   warranties of merchantability and fitness, expired by their own terms or by operation of Civil

                                                                                                26   Code section 1791.1 prior to the filing of Plaintiff’s Complaint.

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                                                                                                                                                          -5-
                                                                                                     ANSWER TO COMPLAINT                                                             CASE NO. CVPS2201041
                                                                                                     010-9373-2338/1/AMERICAS
                                                                                             Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 47 of 53 Page ID #:47



                                                                                                 1                                           STATUTE OF LIMITATIONS

                                                                                                 2                                                 (As to all claims)

                                                                                                 3            20.      Upon information and belief, the claims alleged in the Complaint are barred by the

                                                                                                 4   applicable statutes of limitations including, but not limited to, the provisions of California Code

                                                                                                 5   of Civil Procedure sections 312, 337(1)-(3), 338(a) (d) (j), 339(1) (3), and 343, and/or California

                                                                                                 6   Commercial Code section 2725.

                                                                                                 7                                           DEMAND FOR ARBITRATION

                                                                                                 8                                                 (As to all claims)

                                                                                                 9            21.      Upon information and belief, the contract for the lease of the subject vehicle
                                                                                                10   referenced in Plaintiff’s Complaint includes an arbitration clause and by way of this answer and
SQUIRE PATTON BOGGS (US) LLP




                                                                                                11   affirmative defense, this answering Defendant hereby demands arbitration and does not waive its
                               555 South Flower Street, 31st Floor




                                                                                                12   rights to seek arbitration of those issues.
                                                                     Los Angeles, CA 90071




                                                                                                13                                         CODE CIVIL PROCEDURE § 389

                                                                                                14                                                 (As to all claims)
                                                                                                15            22.      Upon information and belief, the Complaint does not name all necessary or

                                                                                                16   indispensable persons as plaintiffs in this action, and does not state the reasons said person(s)

                                                                                                17   is/are not joined; therefore, the action should be dismissed.

                                                                                                18                                       CIVIL CODE § 1793.22 (NO NOTICE)

                                                                                                19                              (As to all Song-Beverly Consumer Warranty Act claims)
                                                                                                20            23.        This answering Defendant clearly and conspicuously disclosed to Plaintiff the

                                                                                                21   provisions of Civil Code section 1793.22 and of Civil Code section 1793 .2(d), including the

                                                                                                22   requirement that Plaintiff must notify this answering Defendant directly pursuant to paragraphs

                                                                                                23   (1) and (2) of Civil Code section 1793.22(b). This answering Defendant is informed and

                                                                                                24   believes, and based thereon alleges, that Plaintiff did not give proper notice to this answering

                                                                                                25   Defendant.

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                                                                                                                                                         -6-
                                                                                                     ANSWER TO COMPLAINT                                                             CASE NO. CVPS2201041
                                                                                                     010-9373-2338/1/AMERICAS
                                                                                             Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 48 of 53 Page ID #:48



                                                                                                 1                                            NO WILLFUL VIOLATION

                                                                                                 2                              (As to all Song-Beverly Consumer Warranty Act claims)

                                                                                                 3            24.      Plaintiff cannot recover a civil penalty because this answering Defendant's acts or

                                                                                                 4   omissions were not willful. (Civ. Code, § 1794(c)).

                                                                                                 5                              CIVIL CODE § 1794 (BREACH OF IMPLIED WARRANTY)

                                                                                                 6                              (As to all Song-Beverly Consumer Warranty Act claims)

                                                                                                 7            25.      Plaintiff cannot recover a civil penalty because Plaintiff’s claim is based on breach

                                                                                                 8   of an implied warranty. (Civ. Code, § 1794(c)).

                                                                                                 9                                      CIV. CODE § 1794(E)(3) (NO NOTICE)
                                                                                                10                              (As to all Song-Beverly Consumer Warranty Act claims)
SQUIRE PATTON BOGGS (US) LLP




                                                                                                11            26.      This answering Defendant is informed and believes, and based thereon alleges,
                               555 South Flower Street, 31st Floor




                                                                                                12   that Plaintiff cannot recover a civil penalty for a non-willful violation of paragraph (2) of
                                                                     Los Angeles, CA 90071




                                                                                                13   subdivision ( d) of Civil Code section 1793.2, because Plaintiff failed to serve proper notice. (Civ.

                                                                                                14   Code § 1794(e)(3)).

                                                                                                15            27.      This answering Defendant is not a retailer or distributor of used vehicles so cannot

                                                                                                16   be liable for any alleged breach of implied warranty.

                                                                                                17                          CIV. CODE §§ 1511 AND 1512 (EXCUSE OF PERFORMANCE)

                                                                                                18            28.      VWGoA was excused from repurchasing the vehicle pursuant to Civil Code

                                                                                                19   section 1793.2, subdivision (d)(2)(B) because it promptly made the offer to perform, but plaintiff
                                                                                                20   prevented the repurchase from taking place. (Civ. Code, §§ 1511, 1512.)

                                                                                                21                              CIV. CODE § 1485 (EXTINGUISHMENT OF OBLIGATION)

                                                                                                22            29.      Any obligation of VWGoA to repurchase the vehicle was extinguished because

                                                                                                23   VWGOA offered to perform pursuant to Civil Code section 1793.2, subdivision (d)(2)(B). (Civ.

                                                                                                24   Code, § 1485.)

                                                                                                25                                               CIV. CODE § 1504

                                                                                                26            30.      Plaintiff is not entitled to recover prejudgment interest and even if he were, interest

                                                                                                27   stopped accruing at the moment VWGoA offered to perform by repurchasing the vehicle pursuant

                                                                                                28   Civil Code section 1793.2, subdivision (d)(2)(B). (Civ. Code, § 1504.)

                                                                                                                                                        -7-
                                                                                                     ANSWER TO COMPLAINT                                                              CASE NO. CVPS2201041
                                                                                                     010-9373-2338/1/AMERICAS
                                                                                             Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 49 of 53 Page ID #:49



                                                                                                 1                                      PROMPT OFFER TO REPURCHASE

                                                                                                 2             31.     Plaintiff is not entitled to recover a civil penalty because VWGoA promptly

                                                                                                 3   offered to repurchase the vehicle from plaintiff pursuant to Civil Code section 1793.2, subdivision

                                                                                                 4   (d)(2).

                                                                                                 5                                        RESERVATION OF DEFENSES

                                                                                                 6                                              (As to all claims)

                                                                                                 7             32.     This answering Defendant has insufficient knowledge or information upon which

                                                                                                 8   to form a belief as to whether it may have additional affirmative defenses available, so this

                                                                                                 9   answering Defendant reserves the right to assert such additional defenses in the event discovery,
                                                                                                10   investigation, or analysis indicate the need for same.
SQUIRE PATTON BOGGS (US) LLP




                                                                                                11             WHEREFORE, this answering Defendant prays for judgment and relief as follows:
                               555 South Flower Street, 31st Floor




                                                                                                12             1.      That Plaintiff takes nothing by way of the Complaint on file herein;
                                                                     Los Angeles, CA 90071




                                                                                                13             2.      For judgment in favor of this answering Defendant and against Plaintiff on each

                                                                                                14   and every cause of action of the Complaint;

                                                                                                15             3.      For this answering Defendant’s attorneys’ fees as allowed by law;

                                                                                                16             4.      For this answering Defendant’s costs of suit as allowed by law; and,

                                                                                                17             5.      For such other relief as the Court may deem just and proper.

                                                                                                18
                                                                                                     Dated: April 25, 2022                                Squire Patton Boggs (US) LLP
                                                                                                19
                                                                                                20
                                                                                                                                                          By:
                                                                                                21                                                                        Anthony P. Greco
                                                                                                                                                                           Sean P. Conboy
                                                                                                22                                                        Attorneys for Defendant
                                                                                                                                                          Volkswagen Group of America, Inc.
                                                                                                23

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                                                                                                     ANSWER TO COMPLAINT                                                              CASE NO. CVPS2201041
                                                                                                     010-9373-2338/1/AMERICAS
                                                                                             Case 5:22-cv-00734-MWF-MRW Document 1 Filed 04/27/22 Page 50 of 53 Page ID #:50



                                                                                                 1                              Re: Jessica Ramirez. v. Volkswagen Group of America, Inc.
                                                                                                                                Riverside County Superior Court Case Number: CVPS2201041
                                                                                                 2                                                   Proof of Service
                                                                                                 3
                                                                                                              The undersigned certifies and declares as follows:
                                                                                                 4
                                                                                                             I am a resident of the State of California and over 18 years of age and am not a party to
                                                                                                 5   this action. My business address is 555 South Flower Street, 31st Floor, Los Angeles, California
                                                                                                     90071, which is located in the county where any non-personal service described below took
                                                                                                 6   place.
                                                                                                 7           On April 25, 2022, a copy of the following document(s):
                                                                                                         DEFENDANT VOLKSWAGEN GROUP OF AMERICA, INC.’s ANSWER TO
                                                                                                 8       COMPLAINT

                                                                                                 9   was served on:
                                                                                                                                                              Attorneys for Plaintiffs
                                                                                                10
                                                                                                               Roger Kirnos, Esq.                             JESSICA RAMIREZ
                                                                                                               Maite C. Colon, Esq.
SQUIRE PATTON BOGGS (US) LLP




                                                                                                11
                                                                                                               KNIGHT LAW GROUP, LLP
                               555 South Flower Street, 31st Floor




                                                                                                12             10250 Constellation Blvd., Suite 2500
                                                                     Los Angeles, CA 90071




                                                                                                               Los Angeles, CA 90067
                                                                                                13             Phone: (310) 552-2250
                                                                                                               Fax: (310) 552-7973
                                                                                                14
                                                                                                               rogerk@knightlaw.com
                                                                                                15             maitec@knightlaw.com
                                                                                                               emailservice@knightlaw.com
                                                                                                16

                                                                                                17   Service was accomplished as follows:
                                                                                                18                     By Electronic Service, pursuant to Appendix I – Emergency Rules Related to
                                                                                                                     COVID-19, Emergency Rule 12, by transmitting via e-mail or electronic
                                                                                                19                     transmission the document(s) listed above to the parties at the e-mail address(es)
                                                                                                                       set forth above.
                                                                                                20
                                                                                                              I declare under penalty of perjury under the laws of the State of California that the above
                                                                                                21   is true and correct.
                                                                                                22
                                                                                                              Executed on April 25, 2022, at Los Angeles, California.
                                                                                                23

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                                                                                                     ANSWER TO COMPLAINT                                                            CASE NO. CVPS2201041
                                                                                                     010-9373-2338/1/AMERICAS
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                        EXHIBIT C
            Lease
                Date:                                                                               (WITH ARBITRATIONVPHOVlUo
            Lessor NameandBusinessAddress                                                 JLessee NameandAddress                                                       Co-Lessee Name and Address
e 5:22-cv-00734-MWF-MRW
      voIKSWiGEN OF PALM SPRTNGS
                                 Document     1 Filed 04/27/22 Page 52 of 53 Page ID
                                 JESSICA S RANIGEŽN
              67909 E Palm Canyon Dr                                                         29500 HIGHJAY 243
               Gathedral                 City,        CA 92234                               MOUNTAIN CENTER. CA 92561

                                                                                           County:           RIVERSIDE                    County: N/A
            Lessee BIling Address (if differentthanabove)                                                            VehicleGaragingAddress (if differentthan above)

                                                                                                                               N/A
               PO BOX              3241
               TDYLLWLLD, CA,92549                                                                                                                                                Principal Driver:
                                                                                                                              County:                                             (if business use)
          in thisLease, you' and 'your mean thelesseeandco-lessee.We "us' and"our mean the Lessornamedabove, and anyassignee of this Lease.

              f this box İschecked, Lessor will assign this Lease and sell the vehicle to                           WOredit     Leasing, Ltd.          (Assignee") andVW Credit, Inc.                               helped arrange this Lease.
           The terms, conditions, and disclosuires in this Lease govern your Lease with us. Each of you who signs the Lease is jointly 'and severally liable to us for all Lease obligations. You are leasing
           the Vehicle described below (the "Vehicle") from us. You agree to pay all amounts due under the Lease and ful ll all your obligations under the Lease., In this Lease, 'e" means an estimate. The
           Consumer Leasing Act Disdosures shown below are also terms of this Lease. You are leasing the Vehicle and have no ownership rights in the Vehicle unless you exercise your purchase option.

            Monthly Payment Lease: If your payment schedule shows monthly scheduled payments in Item 3A, your Lease is a monthly payment lease.
            Single Payment Lease: If your payment schedule shows a single scheduled payment in Item 3B, your Lease is a single payment lease.
                                                                                                                  1The Vehicle
                            T Year          Make                          Model                         Body Style             Vehicle ID #                                        Odometer                         Primary Use
            Newed                     vuLKSNAGEIKATLAS                                                .6LV6       SE 1V2LR2CAOKC535638                                                 505                 Personal, unless otherwise
                                                                                                                                                                                                                     indicated below
                                                                                                                                                                                                           business            Jagricultural

                                                                                                  CONSUMER LEASING ACTDISCLOSURES
            2. Amount Due at                     3. Scheduled Payments                                                         |4. Other Charges (not part of your scheduled payment)                           5. Total of Payments
            Lease Signing or                     A Your rst monthly payment of $.                      590.7        isdue                                                                                       (The anount you will
            Delivery                             L/29/20followeoy
                                                 on
                                                                                                     47            monthly
                                                                                                                                   A. Disposition fee (if you do not
                                                                                                                                   purchase the Vehicle and we do
                                                                                                                                                                                                                have paid by the end

                                                 payments of $_                                 due on the                         not waive the fee under Item 25(0) $.
                                                                                                                                                                                395..00                         of the Lease)
            (ltemized in ltem 6)                 of each month.                                                                    B.
                                                                                                                                     N/A                                                N/A
                                                 B. Your single payment of S
                                                                                                       N/A        is due on        C.   N/A                                             N/A                     s 30,158.37
                                                                                                                                                                                                                    (2+3C + 4D - 6A3 - 6A4-
                    2,000.00                     C. The Total of yourScheduledPawmentsie S               8, 354.08                 D.Total                              $          95.00                            6A5)


                                                                                  6.Itemization of AmountDue atLeaseSigning orDelivery
            A. Amount Due at Lease Signing or Delivery:                                                                       B. How the Amount Due at Lease Signing or Delivery will be paid:
             1. Capitalized cost reduction                                                              731.28
             2. Taxes on capitalized cost reduction                                                     56.67                 1. Net trade-in        allowance                                                                       N/A
             3. First monthly payment
                                                                                                       590.71
             4. Single scheduled payment
                                                                                                             N/A              2. Rebates and noncash credits                                                                         N/A
              5. Refundable security deposit                                                $                N/A                                                                                                       2.000.O0
              6. Lease acquisition fee                                                      S
                                                                                                             NfA              3. Amount to be paid in cash
               7. Vehicle license fees                                                                  381.00
                                                                                                                                                  N/A                                                                              N/A
               8. Registration, transter, and titing fees                                               140.00                4. Other
               9. Sales/use tax                                                                        6.59
                                                                                                        85.0                                                                                                           2, 000.Oeo
               10. Documentprocessingcharge(not agovernmentalfee)                               $                             5.Total
               11. Electronic vehicle registration or transler charge (not a governmental fe) S              N/A
              12. California tire fee                                                                     8.75
              13                       N/A                                                   S                NJA
              14                     N/A                                                     $-
                                                                                                              N/A
              15.   Total                                                                   S          2,000.00
                                                                                     7. Your scheduled payment is determined as shown below:
             A. Gross capitalized cost. The agreed upon value of the Vehicle ($                                                o00)             andanyitemsyoupayover
                   the Lease term (such as service contracts, insurance, and any outstanding prior credit or lease balance).                                                                                    s 41,323.00
             B. Capitalized cost reduction. The amount of any net trade-in allowance, rebate, noncash credit, or cash you
                   pay that reduces the gross capitalized cost.                                                                                                                                                 $            731,28
             C. Adjusted capitalized cost. The amount used in calculating your base scheduled payment.                                                                                                = $4O,591.72
             D. Residual value. The value of the Vehicle at the end of the Lease used in calculating your base scheduled payment.                                                                               ș 19,120.80
              E. Depreciation and any amortized amounts. The amount charged for the Vehicle's decline in value through
                    normal use and for other items paid over the Lease term.                                                                                                                                    s21,470.92
              F. Rent charge. The amount charged in addition to the depreciation and any amortized amounts.                                                                                                      $4,843.64
              G. Total of base scheduled payments. The depreciation and any amortized amounts plus the rent charge.                                                                                             s 26.314.56
              H. Lease payments. The number of payments in your Lease.                                                                                                                                                        48
              I. Base scheduled               payment.                                                                                                                                                                      548.22
               J. Sales/use tax (e).                                                                                                                                                                                        42.49
                K.Total Scheduled Payment.                                                                                            s        590.71
               Early Termination. You may have to pay a 'substantial charge if you end this Lease early.The charge may be up to several thousand dollars.
              |The actual charge will depend on when the Lease is terminated. The earlier you end the Lease, the greater this charge is likely to be.
              8. Excessive Wear and Use. You may be charged for excessive wear basedon our standards for normal use and for mileage in excess of                                                                            10.000
              miles per year at the rate of $                               20per mile.
              9. Purchase Option at End of Lease Term. You have an option to purchase the Vehicle at the end of the Lease term for                                                               $L9120.80                 plus a purchase
             option fee of $.        N/A        The purchase option price does not include of cial fees such as those for taxes, tags, licenses and registration.
             10. Other mportant Terms. See your Lease documents for additional information on early termination, purchase options, maintenance responsibilities,
             warranties, late and default charges, insurance, and any security interest, if applicable.
                                                                                                    11.Itemizationof GrossCapitalizedCost
              A. Agreedupon value of theVehicle as equipped at Lease signing s                        35,500.00               G. Document processing charge (not a governmental fee) $                                         NA
              B. Agreed upon value of each accessory and item of optional equipment                                            H. Electronic vehicle registration or transfer charge (not a governmental fee)   $     N/A
                    we agree to add to the Vehicle after Lease signing (describe)                                                   California tire fee                                                         $      NA
                                  N/A                                                                                              Prior Credit or Lease Balance                                                Ş4.053 00
                                     N/A                                                                     NA                Optional Products and Services:
                                  N/A                                                                        NZA              K.
                                                                                                                                               NA                                                                               N/A
                                  N/A                                                                        N/A              L.
                                                                                                                                           N/A                                                                         NA
             C. Vehicle license fees                                                                         NZA              M. MJ FXCESS WEAR
                                                                                                                                                                                                                    109502
             D. Registration, transfer, and titling fees                                                     NJA              N.
                                                                                                                                                NA                                                                      NA
             E. Lease acquisition fee

            F Sales/use tax
                                                                                                       675.00
                                                                                                             NIA
                                                                                                                                                NZA
                                                                                                                         P. Total Gross Capitalized Cost:
                                                                                                                                                                                                                S
                                                                                                                                                                                                                             N/A
                                                                                                                                                                                                                           41323 22
                                                                                                             12.The Trade-In Vehicle
             Year
                                                                                                                                 a Upon Value O
fi
fi
     fi
               YearCase 5:22-cv-00734-MWF-MRW
                   VULKSWAGET                                                                  Document 1 A.Filed
                                                                                                             Agreed Upon Value of Trade-In
                                                                                                                    04/27/22 Page 53 of 53 Page
                                                                                                                                             S   1.500.0
                                                                                                                                                ID #:53
                Make.                                                                                                    B. Prior Credit or Lease Balance                                     S              ,553.00
               Modai ETTA SEDAN
                                                                                                                         C. Net Trade-In Allowance (If less than 0 then enter 0) =            $                0.00
                                                 IFYOU DONOT MEETYOUROBLIGATIONSUNDERTHIS LEASE, WEMAY RETAKETHEVEHICLE.
                13. Ot cial Fees and Taxes. The total amount you will pay for of cal and license les.                         16.     Warranties.    The Vehice is subject to the manufacurer's standard waranty, unless
                regjistration, tle and taxes over the term of your Lease, whether included in your scheduled               thisboxischecked:]
                 monthlypayments or assessedotherwise:$
                                                                    96253               (e). The actual total of fees         Oi this box is checked, the Vehicle is subject to the following express warranties:

                   and taxes may be diferent than this estimate based on changes in the tax or fee rates and the
                                                                                                                                                     N/A
                   value of the Vehicle when the fee or tax is determined.
                                                                                                                                                N/A
                   14. Late Payments. For anypaymentnotreceived witji,
                                                                                   10            days of the date it
                                                                                                                                              N/A
                                                                                                                              Warranty papers that are separate from this Lease state any coverage limits.
                   SQue,youWl payalatecharoeof:               55 OF          THE    UNPALO
                   isdue,youMI Py                      PAYMEN                                                             The lawgives you.awarranty that the Vehicle conforms to the description in this
                                                                                                                           Lease. THERE ARE NO OTHER EXPRESS WARRANTIES ON THE VEHICLE.
                   You will not have to pay a late charge if the only amount that is late is a late charge vou             Except as provided above or prohibited bylaw. the following two sentences apply.
                   Owed for an earlier late payment.
                                                                                                                           THE VEHICLE IS BEING LEASED'AS IS' AND 'WITH ALL FAULTS, AND THE
                   15. Returned Payment and Unpaid Fines and Fees. You will also pay a returned payment
                                                                                                                              ENTIRE RISK AS TO THE QUALITY AND PERFORMANCE OF THE VEHICLE

                charge of $-              00        for any check, instrument or electronic funds debit that is
                                                                                                                           IS WITH YoU. SHOULD THEVEHICLEPROVEDEFECTIVEFOLLOWING
                                                                                                                              DELIVERY PURSUANT TO THIS LEASE, YOU. NOT THE LESSOR, ASSUME
                 returned unpaid for any reason, if the law allows it. If you don't pay a ne, penalty, toll, or               THE ENTIRE COST OF ALL NECESSARY SERVICING OR REPAIR.
                parking ticket and we elect to pay it, you will reimburse us for the amount paid plus a                       F the Vehicle is subiect to the manufacturer's standard warranty, if we make a
                                                                                                                              written warranty covering the Vehicle or. within
                                                                                                                                                                            in 90 days of the Lease Date we
                         25.00           Administrative Fee per incident, if the law allowsit.                                         nto a soice contract covering the Vehicle, this disclaimer willLnot affect
                                                                                                                              any implied warranties during the term of the warranty or service contract
                                                                                           17.OPTIONALPRODUCTSANDSERVICES
             You are not rèquiredtobuy any ofthefollowingoptionalproductsandservicestoenterinto theLeaşe.Theterm ofanyproductorservice will betheLeaseterm,unlessadifferentterm
                                                e waot to purchase. an optional product or service, review the tecms of the contract that describe the product or Service before you initial below. A completed
            shown below is not shown as part of the ltemization of Amount Due at Lease Signing or Delivery (ltem 6), it has been added to the Gross Capitalized Cost (Item 11).
                    OptionalProductorService                                 Coverage                      Price                                    Name of Provider                                     Approval
                                                                                                                                                                                                  Lessee
                        NZA                                                  N/A                          N/A                              NA                                                     Initials
                                                                                                                                                                                                               N/A
                                                                                                                                                                                                  Lessee
                             N/A                                             N/A                        N/A                                N/A                                                    Initials

                                                                                                                                                                                                  Lessee
              WEAR CARE:                                             48/40.000                         1,095.0             Vw EXCESS WEAR                                                         Initials
                                                                                                                                                                                                  Lessee
                           N/A                                               N/A                          NZA                                                                                     Initials
                            NJA                                              N/A                          N/A                              N/A                                                    Lessee
                                                                                                                                                                                                  Initials
                                                                                                                                                                                                                 N/A
                                                                                                          18.EXTRAMILEAGE
              You are purchasing             N/A            extra miles per year at a rate of $ NZA                           per mile. The extra miles are included in the amount shown in Item 8 "Excessive Wear
             and     Use."DIf    this box is checked, you will receive a credit for unused purchased extra miles if this Lease ends on or after the start of the last monthly period (see ltem 20A). This
            creditwillequal N/A                     cents     perpurchasedunusedmiletimeseachmileunder NZA                                      L,uptothe NA                    total extramiles youpurchased.You will
             not receive this credit for unused purchased miles if this Lease ends before the start of the last monthly period, the Vehicle is destroyed, you purchase the Vehicle, or you are in defaut.
                                                                      19.TYPES AND AMOUNTS OFREQUIREDINSURANCECOVERAGE
            You mustmaintainthefollowingtypes andminimumamountsofinsurance:                            $5,000.0D        perpersonforbodilyinjury:            S30,000,Cper       accidentforbodilyiniurv:        $000.a2
             per accident for propery damage. the minimum amounts of insurance required by the stale in which the vehide is garaged are higher than amounts stated in this Lasa, you agre to maintain
              insurance that meets the minimum state requirements.You agree to maintain collision, re, theft, andcomprehensivecoverage with a maximumdeductible of $                         00D0              See Item 25/a)
              for additional insurance provisions. You con rm that insurance policies that meet the requirements described in this Lease are in force on the date of this Lease.
                                 20. LAST MONTHLY PERIOD AND LEASE TERM                                                                          21. HoWTHISLEASE CAN BECHANGED
                A. The start of the last monthly period lor a monthly payment lease is the due date for the ThisLeasecontains theentireagreementbetweenyou andus relatingto thisLease. Anychange
                last monthly payment. For a single payment lease, the start of the last monthly period isto the Lease must be in writing and both you and wé must sign it No oral changes are binding.
                the date that is one month before the scheduled lease end.
                                                                                                                         Lessee Signs X
              B. Thescheduledlease term is                              months.                                           Co-Lessee Signs X                        NA
                                                                                                     22. EXCESSWEARWAIVER
             We will waive excess wear charges (Item 25(c) in an amount up to $M/A                                                  L if, at the time this Lease ends, you enter into a motor vehicle lease o
             installment sale contract that the dealerassigns to VW CreditLeasing,Ltd. or VW Credit,Inc. dbaVolkSwagenCredit and Audi Financial Services.
            N           HEOIHER SIDEOFTHIS LEASE CONTAINSIMPORTANTTERMS ANDCONDITIONS,INCLUDING AN ARBITRATIONPROVISION.THETERMS
            AND CONDITIONS ON THE REVERSE SIDE ARE PART OF THIS LEASE.
           Agreementto Arbitrate:Bysigningbelow.youagreehab,pursuanto theArbitrationProvision,Item26,onthereverseside ofthisLease.you or wemayelectto
            resolve any dispute by neutral,binding arbitraion and got by a courtaction. SeetheArbitrationProvision foradditionalinformation concerning the agreement to'artbitrate.
           |Lessee Signs X                                                                    Co-Lessee Signs X




            Lessor's Right to Cancel. If Lessoris unable to assign this Lease to a nancialinstitution,the provisions of the Lessor'sRight to Cancelsection on the back
            giving the Lessor the right to cancel will apply.
                                                                                          THERE IS NOCOOLINGOFFPERIOD
            California law does not provide for a "cooling off"or other cancelltion period for vehicleleases.Therefore,you cannot later cancel this lease simply because you change your mind
            decidedthevehiclecoststoo much,orwishyouhadacquireda diferentvehicle.Youmaycancelthislease only with theagreementof thelessor or forlegalcause,such asfraud.
           Rentchargemaybenegotiable.LessormayassignthisLeaseand retaina right toreceivea portion of the rentcharge.
            ()Do not signthisLeasebeforeyoureadit or if tcontainsanyblankspacestobe lled in;(2)Youareentitledto acompletely lled in copy of this Lease:
            (3) Warning-Unless achargeisincludedin thisLeaseforpubliclíability or propertydamageinsurance,paymentfor thatcoverage is notprovided by this Lease.
           YOU AGREETOTHETERMSOFTHIS LEASE.YOUACKNOWLEDGEYOUHAVEEXAMINEDTHEVEHCLE THAT THEVEHUCHE1S FQUPRB
           ASYOU
               WANT,
                  ANDTHAT
                        ITIS
                           INGOOD
                              CONDITIQN,YOU
                                        ACCH                                                                                               s                 Son           e lhA
            THAT VOU HAVF                 NAWUFREAD                BOIH SIDES OF THISLEASE. INCLUDING THEARBITRATION PROVISION ON THE REVERSE SIDE (ITEM
             26), BEFORESIGNINGBELOW.YOUCONFIRMTHATYOURECEIVEDACOMPLETELYFILLED-N COPYWHENYOUSIGNEDTHISLEASE
                                                                                                       LESSEE SIGNATURES

              Lessee Signature                                                                Datel/29/20               Co-LesseeSignature                       N/A                                  Date

             Type/Print Lessee NameJESSICA                     S    RAMIREZ                                             Type/Print Co-Lessee Name N/A
            CommercialLessee R/A                                                                                Date                                  By N/A
            Type/Print Name.                                                                                    Type/PrintTitle N/A
                                                                                                    LESSOR'S ACCEPTANCE
            The Lessor's authorized signature indicates the Lessor has accepted the terms, conditions and obligations of this Lease.

           LessorName:VOLKSWAGËNOF PALM ŞPRINGS                                                                         By:
                                                                                                                        Type/Print Name:
            Assignee Name: VW Credit Leasing, Ltd.                                                                      Type/Print Title:
                                                                                                                                                                                                   ER COPY
             LAW         FORMNO.VCI-UCL-CA
                                         (nevgo                                                        4o000 tao0.531-0ooss
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